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                                             District of 168-3     Filed 07/21/23
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                                                U.S. District Court
                                         District of Maryland (Greenbelt)
                                  CIVIL DOCKET FOR CASE #: 8:23-cv-01969-PX


 Garrison et al v. Jung                                                             Date Filed: 07/21/2023
 Assigned to: Judge Paula Xinis                                                     Jury Demand: Plaintiff
 Demand: $9,999,000                                                                 Nature of Suit: 370 Other Fraud
 Cause: 28:1332 Diversity-Deceptive Trade Practices                                 Jurisdiction: Diversity
 Plaintiff
 Edwin Garrison                                                      represented by Michael Scott Mitchell
                                                                                    Boies Schiller Flexner LLP
                                                                                    1401 New York Avenue, NW
                                                                                    Ste 11th Floor
                                                                                    Washington, DC 20005
                                                                                    202-237-2727
                                                                                    Fax: 202-237-6131
                                                                                    Email: mmitchell@bsfllp.com
                                                                                    LEAD ATTORNEY
                                                                                    ATTORNEY TO BE NOTICED
 Plaintiff
 Gregg Podalsky                                                      represented by Michael Scott Mitchell
                                                                                    (See above for address)
                                                                                    LEAD ATTORNEY
                                                                                    ATTORNEY TO BE NOTICED
 Plaintiff
 Skyler Lindeen                                                      represented by Michael Scott Mitchell
                                                                                    (See above for address)
                                                                                    LEAD ATTORNEY
                                                                                    ATTORNEY TO BE NOTICED
 Plaintiff
 Alexander Chernyavsky                                               represented by Michael Scott Mitchell
                                                                                    (See above for address)
                                                                                    LEAD ATTORNEY
                                                                                    ATTORNEY TO BE NOTICED
 Plaintiff
 Sunil Kavuri                                                        represented by Michael Scott Mitchell
                                                                                    (See above for address)
                                                                                    LEAD ATTORNEY
                                                                                    ATTORNEY TO BE NOTICED
 Plaintiff
 Gary Gallant                                                        represented by Michael Scott Mitchell
                                                                                    (See above for address)
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                                             District of 168-3     Filed 07/21/23
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                                                                          LEAD ATTORNEY
                                                                          ATTORNEY TO BE NOTICED
 Plaintiff
 David Nicol                                                         represented by David Nicol
                                                                                    PRO SE


 V.
 Defendant
 Brian Jung


  Date Filed           # Docket Text
  07/21/2023           1 COMPLAINT against Brian Jung ( Filing fee $ 402 receipt number AMDDC-10721528.),
                         filed by Edwin Garrison. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Civil Cover Sheet,
                         # 4 Summons)(Mitchell, Michael) (Entered: 07/21/2023)
  07/21/2023           2 Local Rule 103.3 Disclosure Statement by Edwin Garrison (Mitchell, Michael) (Entered:
                         07/21/2023)



                                                        PACER Service Center
                                                            Transaction Receipt
                                                               07/21/2023 20:25:23
                                   PACER Login: AdamMoskoadam Client Code:               FTX
                                   Description:      Docket Report       Search Criteria: 8:23-cv-01969-PX
                                   Billable Pages: 2                     Cost:           0.20




https://ecf.mdd.uscourts.gov/cgi-bin/DktRpt.pl?813421727960527-L_1_0-1                                                 2/2
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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF MARYLAND
                                    SOUTHERN DIVISION

    EDWIN GARRISON, et al., on behalf of
    themselves and all others similarly situated,         CLASS ACTION COMPLAINT

         Plaintiffs,                                      JURY TRIAL DEMANDED

    v.                                                    CASE NO.:______________

    BRIAN JUNG,

         Defendant.
                                                  /


                 CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL

         Plaintiffs file this Complaint on behalf of themselves, and all other similarly situated US

and non-US FTX consumers, against the Defendant, an “Influencer” who promoted, assisted in,

and/or actively participated in FTX Trading LTD d/b/a FTX’s (“FTX Trading”) and West Realm

Shires Services Inc. d/b/a FTX US’s (“FTX US”) (collectively, the “FTX Entities”), offer and sale

of unregistered securities.1

                                         INTRODUCTION

         1.       This Action is a Related Action to the multidistrict litigation In re: FTX

Cryptocurrency Exchange Collapse Litigation, No. 1:23-md-3076 (S.D. Fla.) (the “FTX MDL”),

pending in the United States District Court for the Southern District of Florida before the

Honorable K. Michael Moore (the “Transferee Court”). A copy of the Transfer order issued by the




1
  The Expert Report of Paul Sibenik, Lead Case Manager at CipherBlade, dated December 16,
2022) is incorporated herein by reference and attached hereto as Exhibit B. This report was filed
last year in the first class action in the country against various FTX Defendants, including Sam
Bankman-Fried, other FTX insiders, and Celebrity Brand Ambassadors, which cases were
consolidated and are all pending before The Honorable K. Michael Moore. Garrison, et al. v.
Bankman-Fried, et al., No. 1:22-cv-23753-KMM (S.D. Fla.).
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United States Judicial Panel on Multidistrict Litigation (the “Panel”) in In re: FTX Cryptocurrency

Exchange Collapse Litigation, MDL No. 3076, ECF No. 138 (J.P.M.L June 5, 2023), is attached

as Exhibit A. A Notice of Potential Tag-Along Action is being concurrently filed before the Panel

in accordance with Rule 7.1(a) of the Panel’s Rules of Procedure. This Related Action, which was

originally filed in the Southern District of Florida, Garrison v. Paffrath, Case No. 1:23-cv-21023,

is being filed again before this Court in this District in order to address the arguments Defendant

Brian Jung raised regarding whether the Transferee Court has jurisdiction over him for these

claims. The substantive allegations in both actions are the same, and will be amended in a

consolidated amended class action complaint currently due to be filed August 7, 2023, once

transferred to the Transferee Court and consolidated into the FTX MDL.

       2.       The FTX disaster is the largest financial fraud in US history. The former FTX CEO,

Sam Bankman-Fried (“SBF”), is facing numerous criminal charges and the new CEO—who

helped wind down Enron—concluded that this fraud was worse than Enron. Billions of dollars

have been stolen from investors across the globe.

       3.       FTX was a centralized cryptocurrency platform which specialized in derivatives

and leveraged products. It filed for bankruptcy protection in November 2022 and will be involved

in federal bankruptcy proceedings for many years. There is no guarantee that any of the victims

will be able to see any recovery from those proceedings.

       4.       This action may be one of the only avenues for any of the victims to recover any of

their damages. Plaintiffs bring this action against YouTube and social media financial influencers

and promoters who shared financial advice and actively promoted FTX and its yield-bearing-

accounts (“YBAs”) to their millions of followers. Though FTX paid the Defendant handsomely to

push its brand and encourage their followers to invest, the Defendant did not disclose the nature




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and scope of his sponsorships and/or endorsement deals, payments and compensation, nor conduct

adequate (if any) due diligence.

       5.       With the rise to prominence of the internet and social media, a new multi-billion-

dollar cottage industry of “Influencers” has been created. Evidence has now been uncovered that

reveals Influencers played a major role in the FTX disaster and in fact, FTX could not have risen

to such great heights without the massive impact of these Influencers, who hyped the Deceptive

FTX Platform for undisclosed payments ranging from tens of thousands of dollars to multimillion

dollar bribes.2 Indeed, the most searched companies on the internet today are cryptocurrency

brands. According to the NBA 2021–2022 Marketing & Partnerships Annual Report by

SponsorUnited, the cryptocurrency industry had a higher search volume during that year than the

entire Alcohol & Beverages industry.

       6.       It is paramount to understand that the Florida state law claims asserted in this action

do not require “reliance” or “deceit.” The law merely requires the named Plaintiffs (and

eventually the certified class) to have suffered damages as a result of: (a) purchasing an

“unregistered security,” and (b) that was promoted by the Defendant for their financial benefit

and/or the financial benefit of FTX.

       7.       The reality is that anyone around the world with a computer can now be a promoter.

Many of these paid FTX Influencers have since asked for forgiveness, because many of these

Influencers rely mainly on their alleged independence and impartiality in attracting people to join




2
  For example, the company Coinbound touts that: We help crypto brands go viral using Web3’s
top influencers. An influencer marketing agency built for crypto. https://coinbound.io/influencers/
(accessed July 21, 2023).

                                                  3
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their fanbase.3 This Action is brought to hold liable those Influencers who specifically violated the

law under these acts and will serve as precedent to warn and guide Influencers in the future.

        8.       State and federal regulators have been required to quickly modify and adjust to all

of the changing sources of promoters and marketers. Starting with sponsors on radio, then

television and motion pictures and today, to the wild west of the internet, the number of companies

that specialize in promoting on social media have sky-rocketed. According to studies, those aged

18 to 34 are more likely to build an interest in an investment specifically from social media, instead

of traditional news websites.4

        9.       Both the Eleventh and Ninth Circuits have already recently entered opinions that

specifically social media posts and mass communications (in the cryptocurrency context) made

through the internet, exactly like the ones at issue in these claims, are sufficient to state a claim for

soliciting the sale of unregistered securities. Pino v. Cardone Capital, LLC, 55 F.4th 1253 (9th

Cir. 2022); Wildes v. BitConnect Int'l PLC, 25 F.4th 1341 (11th Cir. 2022), cert. denied sub nom.

Arcaro v. Parks, 214 L. Ed. 2d 235 (2022).

        10.      Numerous state courts, including in Florida, have also interpreted their own state

securities laws, such as the Florida Securities and Investor Protection Act (“FSIPA”), to go even

further and provide broader protection for investors from aiding and abetting the sale of

unregistered securities, such as these YBAs, because the FSIPA, “as its title makes clear, [was

designed] to protect the public from fraudulent and deceptive practices in the sale and marketing

of securities.” Mehl v. Office of Financial Regulation, 859 So.2d 1260, 1264–65 (Fla. 1st DCA

2003) (quoting Arthur Young & Co. v. Mariner Corp., 630 So.2d 1199, 1203 (Fla. 4th DCA 1994).


3
       https://www.businessinsider.com/influencers-sponsored-by-ftx-say-sorry-to-fans-2022-11
(accessed July 21, 2023).
4
       https://www.theguardian.com/money/2021/aug/22/as-finfluencers-spread-through-social-
media-beware-the-pitfalls (accessed July 21, 2023).

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       11.     Literally overnight, Plaintiffs lost their assets held in their YBAs on FTX’s trading

platform as FTX imploded and filed a Chapter 11 bankruptcy petition in Delaware on an

emergency basis. In the months following FTX’s filing, its founders, including SBF, were charged

with numerous counts of fraud and money laundering (among other things) and as of the date of

this filing at least three of SBF’s cohorts pled guilty to conspiracy and other criminal charges

relating to FTX’s scheme to defraud its investors.

       12.     FTX’s fraudulent scheme was designed to take advantage of investors from across

the globe, including specifically in Maryland, who sought out what was represented to be a safe

platform to make their investments in the burgeoning cryptocurrency industry. The scheme

resulted in FTX investors collectively sustaining billions of dollars in damages.

                                            PARTIES

       13.     Plaintiffs are all residents of US and/or a foreign government, and all purchased

FTX YBAs.

       14.     Plaintiff Edwin Garrison is a citizen and resident of the State of Oklahoma. He is

a natural person over the age of 21 and is otherwise sui juris. Plaintiff Garrison purchased an

unregistered security from FTX in the form of a YBA and funded the account with a sufficient

amount of crypto assets to earn interest on his holdings. Plaintiff Garrison did so after being

exposed to some or all of the Defendant’s misrepresentations and omissions regarding the FTX

Platform as detailed in this complaint, and executed trades on the FTX Platform in reliance on

those misrepresentations and omissions. As a result, Plaintiff Garrison has sustained damages for

which the Defendant is liable.

       15.     Plaintiff Gregg Podalsky is a citizen and resident of Florida. He is a natural person

over the age of 21 and is otherwise sui juris. Plaintiff Podalsky purchased an unregistered security

from FTX in the form of a YBA and funded the account with a sufficient amount of crypto assets


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to earn interest on his holdings. Plaintiff Podalsky did so after being exposed to some or all of the

Defendant’s misrepresentations and omissions regarding the FTX Platform as detailed in this

complaint, and/or executed trades on the FTX Platform in reliance on those misrepresentations

and omissions. As a result, Plaintiff Podalsky has sustained damages for which the Defendant is

liable.

          16.   Plaintiff Skyler Lindeen is a citizen and resident of Florida. He is a natural person

over the age of 21 and is otherwise sui juris. Plaintiff Lindeen purchased an unregistered security

from FTX in the form of a YBA and funded the account with a sufficient amount of crypto assets

to earn interest on his holdings. Plaintiff Lindeen did so after being exposed to some or all of the

Defendant’s misrepresentations and omissions regarding the FTX Platform as detailed in this

complaint, and/or executed trades on the FTX Platform in reliance on those misrepresentations

and omissions. As a result, Plaintiff Lindeen has sustained damages for which the Defendant is

liable.

          17.   Plaintiff Alexander Chernyavsky is a citizen and resident of Florida. He is a

natural person over the age of 21 and is otherwise sui juris. Plaintiff Chernyavsky purchased an

unregistered security from FTX in the form of a YBA and funded the account with a sufficient

amount of crypto assets to earn interest on his holdings. Plaintiff Chernyavsky did so after being

exposed to some or all of the Defendant’s misrepresentations and omissions regarding the FTX

Platform as detailed in this complaint, and/or executed trades on the FTX Platform in reliance on

those misrepresentations and omissions. As a result, Plaintiff Chernyavsky has sustained damages

for which the Defendant is liable.

          18.   Plaintiff Sunil Kavuri is a citizen and resident of the United Kingdom. He is a

natural person over the age of 21 and is otherwise sui juris. Plaintiff Kavuri purchased an

unregistered security from FTX in the form of a YBA and funded the account with a sufficient


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amount of crypto assets to earn interest on his holdings. Plaintiff Kavuri did so after being exposed

to some or all of the Defendant’s misrepresentations and omissions regarding the FTX Platform

as detailed in this complaint, and/or executed trades on the FTX Platform in reliance on those

misrepresentations and omissions. As a result, Plaintiff Kavuri has sustained damages for which

the Defendant is liable.

          19.   Plaintiff Gary Gallant is a citizen and resident of Canada. He is a natural person

over the age of 21 and is otherwise sui juris. Plaintiff Gallant purchased an unregistered security

from FTX in the form of a YBA and funded the account with a sufficient amount of crypto assets

to earn interest on his holdings. Plaintiff Gallant did so after being exposed to some or all of the

Defendant’s misrepresentations and omissions regarding the FTX Platform as detailed in this

complaint, and/or executed trades on the FTX Platform in reliance on those misrepresentations

and omissions. As a result, Plaintiff Gallant has sustained damages for which the Defendant is

liable.

          20.   Plaintiff David Nicol is a citizen and resident of Sydney, Australia. He is a natural

person over the age of 21 and is otherwise sui juris. Plaintiff Nicol purchased an unregistered

security from FTX in the form of a YBA and funded the account with a sufficient amount of crypto

assets to earn interest on his holdings. Plaintiff Nicol did so after being exposed to some or all of

the Defendant’s misrepresentations and omissions regarding the FTX Platform as detailed in this

complaint, and/or executed trades on the FTX Platform in reliance on those misrepresentations

and omissions. As a result, Plaintiff Nicol has sustained damages for which the Defendant is liable.

          21.   The “Defendant” is a digital creator who provides investor information and advice

on an array of topics, including cryptocurrency generally and FTX on his YouTube channel.

YouTube is the second largest search engine, which generates content that is accessible across the

globe.


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       22.     The Defendant (1) admittedly endorsed and promoted the sale of the FTX YBAs

and (2) did not disclose, in any of his YouTube and other social media posts, that he was paid

hundreds of thousands and/or millions of dollars by FTX and profited from the sale of FTX YBAs,

in clear violation of SEC, FTC and various federal and state regulations.

       23.     Defendant, Brian Jung, a YouTube star with over 1.3 million subscribers to his

YouTube channel, was paid to endorse FTX, and is a citizen and resident of Washington, D.C.

                                  JURISDICTION AND VENUE

       24.     This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

§ 1332(d)(2)(A) because this is a class action for a sum exceeding $1,000,000,000.00 (one billion

dollars), exclusive of interest and costs, and in which at least one class member is a citizen of a

state different than the Defendant.

       25.     This Court has general personal jurisdiction over Defendant Brian Jung because

Defendant Jung is domiciled in this state, and Defendant Jung is engaged in substantial and not

isolated activity within this state, rendering Defendant Jung subject to the jurisdiction of the courts

of this state, whether or not the claim arises from that activity. Upon transfer of this Related Action

to the Transferee Court for consolidation into the FTX MDL, the Transferee Court will have

personal jurisdiction over Defendant Jung because in enacting the multidistrict litigation statute,

28 U.S.C. § 1407, Congress “authroiz[ed] the federal courts to exercise nationwide personal

jurisdiction … and [t]ransfers under Section 1407 are simply encumbered by considerations of in

personam jurisdiction…” In re Agent Orange Prod. Liab. Litig. MDL No 381, 818 F.2d 145, 163

(2d Cir. 1987). The Transferee Court further independently has personal jurisdiction over

Defendant because the Court has jurisdiction over one or more of the co-conspirators of the civil

conspiracy alleged herein, and because Defendant regularly conducted business in Florida and/or

engaged in continuous and systematic activities within Florida, and committed tortious acts in the


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state of Florida, including aiding and abetting the fraud, and the other tortious acts, as alleged

herein.

          26.   Venue is proper in this District under 28 U.S.C. § 1391 because Defendant Jung

resides in this District. Venue is also proper in the Southern District of Florida before the

Transferee Court pursuant to 28 U.S.C. § 1407, because the Panel ordered in its Transfer Order

that all Related Actions be transferred to the Transferee Court and consolidated into the FTX MDL

for pretrial purposes. Venue is further proper in the Southern District of Florida before the

Transferee Court pursuant to 28 U.S.C. § 1391 because the acts, practices, and courses of business

constituting the violations alleged in this Complaint occurred within this District.

          27.   All conditions precedent to the institution and maintenance of this action have been

performed, excused, waived, or have otherwise occurred.

                                   FACTUAL ALLEGATIONS

    I. Background on Cryptocurrency Litigation Relating to the Promotion of YBAs

          28.   Back in 2017, the SEC warned that if YBAs are found to be “securities,” persons

who promote them may be liable under state and federal regulations for: (1) promoting an

unregistered security, or (2) failing to properly disclose their payments and compensation. Those

specific claims have a strict liability standard with no caveat emptor defense.

          29.   The question of whether the sale of FTX YBAs constitutes the sale of “unregistered

securities” under the Florida Statutes has practically been answered in the affirmative through

various regulatory statements, guidance, and actions issued by the U.S. Securities and Exchange

Commission and other regulatory entities. For example, on November 1, 2017, in the “SEC

Statement Urging Caution Around Celebrity Backed ICOs,”5



5
 https://www.sec.gov/news/public-statement/statement-potentially-unlawful-promotion-icos
(accessed July 21, 2023) (emphasis added).

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                 In the SEC’s Report of Investigation concerning The DAO,6 the
                 Commission warned that virtual tokens or coins sold in ICOs may
                 be securities, and those who offer and sell securities in the United
                 States must comply with the federal securities laws. Any celebrity
                 or other individual who promotes a virtual token or coin that is a
                 security must disclose the nature, scope, and amount of
                 compensation received in exchange for the promotion. A failure to
                 disclose this information is a violation of the anti-touting provisions
                 of the federal securities laws. Persons making these endorsements
                 may also be liable for potential violations of the anti-fraud
                 provisions of the federal securities laws, for participating in an
                 unregistered offer and sale of securities, and for acting as
                 unregistered brokers. The SEC will continue to focus on these types
                 of promotions to protect investors and to ensure compliance with the
                 securities laws.
         30.     The SEC and state securities regulators over the past five years have already found

liable numerous celebrities, cryptocurrency brokers and exchanges just like FTX for offering this

exact same type of interest-bearing account, finding that exchanges such as BlockFi,7 Voyager,8

and Celsius9 all offered these same accounts as unregistered securities.

         31.     A second narrow issue that is common to the entire Proposed Class, whose focus is

solely objective, is whether the Defendant violated Florida’s consumer laws by failing to abide by

the FTC’s long-established rules and regulations regarding the requirements that must be met in

connection with celebrity endorsements, including of items such as cryptocurrency.

         32.     In particular, Plaintiffs’ claims arise from their purchase of and investment in

FTX’s YBAs, which, FTX marketed through the Defendant, as a type of savings account that every

customer who signed up for the FTX app received by default, and which, as explained below, was




6
    https://www.sec.gov/litigation/investreport/34-81207.pdf (accessed July 21, 2023).
7
    https://www.sec.gov/news/press-release/2022-26 (accessed July 21, 2023).
8
   See, e.g., https://www.nj.gov/oag/newsreleases22/Voyager%20Summary%20Order.pdf (
accessed March 13, 2023); https://dfr.vermont.gov/sites/finreg/files/regbul/dfr-order-22-004-s-
voyager.pdf (accessed March 13, 2023)
9
    https://www.nj.gov/oag/newsreleases21/Celsius-Order-9.17.21.pdf (accessed March 13, 2023).

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guaranteed to generate returns on their significant holdings in the accounts, regardless of whether

those assets were held as legal tender or cryptocurrency, and regardless of whether any trades were

made with the assets held in the YBA. That is the narrative that the Defendant pushed in promoting

the offer and sale of the YBAs, which are unregistered securities. For that, the Defendant is liable

for Plaintiffs’ losses, jointly and severally and to the same extent as if he was himself the FTX

Entities.

        33.     Literally overnight, Plaintiffs’ assets held in their YBAs on the FTX Platform were

unavailable to them as FTX imploded and filed a Chapter 11 bankruptcy petition in Delaware on

an emergency basis. This happened because, as explained by the new CEO of the failed FTX

Entities:

                I have over 40 years of legal and restructuring experience. I have
                been the Chief Restructuring Officer or Chief Executive Officer in
                several of the largest corporate failures in history. I have supervised
                situations involving allegations of criminal activity and malfeasance
                (Enron). I have supervised situations involving novel financial
                structures (Enron and Residential Capital) and cross-border asset
                recovery and maximization (Nortel and Overseas Shipholding).
                Nearly every situation in which I have been involved has been
                characterized by defects of some sort in internal controls, regulatory
                compliance, human resources and systems integrity.
                Never in my career have I seen such a complete failure of corporate
                controls and such a complete absence of trustworthy financial
                information as occurred here. From compromised systems integrity
                and faulty regulatory oversight abroad, to the concentration of
                control in the hands of a very small group of inexperienced,
                unsophisticated and potentially compromised individuals, this
                situation is unprecedented.
See In re: FTX Trading Ltd, et al., No. 22-11068 (JTD), ECF No. 24, ¶¶ 4–5 (D. Del. Nov. 17,

2022) (emphasis added).

        34.     The losses associated with malfeasance in the cryptocurrency sector are growing

by the billions almost every day. More crypto companies are filing new federal bankruptcy

petitions each day, all running for protection from the billions of dollars of losses they directly


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caused to thousands of investors in Maryland and across the globe. This is by far the largest

securities national disaster, greatly surpassing the Madoff ponzi scheme.

       35.      The deceptive and failed FTX platform emanated from Miami, Florida, FTX’s

domestic headquarters and the host of the largest and most famous cryptocurrency conventions.

FTX’s fraudulent plan was put into effect from its worldwide headquarters located in Miami,

Florida. Miami became the “hot spot” for crypto companies, hosting the most investments in

crypto startups as well as the annual Bitcoin Miami 2022 Global Forum. Several crypto companies,

including crypto exchange Blockchain.com, Ripple and FTX.US, moved their headquarters to

Miami. Others, including fellow exchange eToro, expanded their U.S. presence with offices in

Miami. FTX was already very familiar with Miami, signing a deal worth more than $135 million

dollars for the naming rights of the waterfront arena, where the Miami Heat—who are 3-time NBA

Champions—play.

   II. Background on FTX

       36.      Until seeking the protection of the Bankruptcy Court, the FTX Entities operated a

multi-billion-dollar mobile application cryptocurrency investment service (the “FTX Platform”)

that placed cryptocurrency trade orders on behalf of users like Plaintiff and Class Members and

offered interest bearing cryptocurrency accounts.

       37.      In many ways, centralized cryptocurrency exchanges, including FTX, are

analogous to banks albeit for the cryptocurrency industry. More specifically, cryptocurrency

exchanges accept deposits of cryptocurrency, and often fiat currency on behalf of their customers.

Once that cryptocurrency is received by the exchange, the exchange has dominion and control over

those assets.

       38.      The exchange then credits the applicable customer account with the appropriate

amount of cryptocurrency or fiat assets the exchange received. This credit can be regarded as a


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liability of the exchange to its customer. One major factor that affects the exchange’s ability to

process such requests is whether they have the assets and/or capital necessary to do so. For any

non-yield-bearing account, liquidity should not be a problem, since exchanges should have enough

assets in custody for the benefit of their customers to cover their liabilities to their customers, on

a 1:1 basis.

        39.    FTX’s terms of service guaranteed that title to the digital assets in customer

accounts remained with the customer and that customers controlled the digital assets in their

accounts. FTX violated its own terms of service.

        40.    While FTX violated its own terms of service, it would also have been true that some

of these claims would have been demonstrably false to begin even if there was hypothetically no

wrongdoing on the part of FTX because FTX exchange accounts are custodial in nature. This

means that the customer does not control access to the assets “in” their account. Rather, the

customer needs to make a request to the exchange to be able to access and send those balances,

which then debits the user account and sends the assets. Whether or not such requests are processed

is dependent on the willingness, ability, and approval of the exchange.

        41.    With any yield-bearing account, it could generally be expected for an exchange to

take those customers and leverage, loan or invest them in some way, and hopefully receive enough

assets back to be able to pay out their customers’ principal, in addition to yield or interest earned,

when applicable customers attempt to redeem or withdraw those funds.

        42.    While the existence of such loans associated with assets deposited to yield-bearing

accounts was known, the substantial risks associated with such loans, and by extension the yield-

bearing accounts in general was not adequately represented.

        43.    The main functional differences between banks and cryptocurrency exchanges is

that exchanges are largely unregulated, and that exchanges (and by extension exchange accounts


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and the users who use them) are subject to a lot of additional risks compared to that of a bank

account.

       44.     Banks are regulated with regards to the type of assets that they can invest customer

assets in, subject to regular financial audits, and have regulatory oversight to ensure the protection

of consumer assets. And of course, bank accounts are insured by the Federal Deposit Insurance

Corporation (“FDIC”), ensuring that bank account holders have coverage in case a bank, despite

such measures, becomes insolvent. Id.

       45.     In contrast, exchanges like FTX are not subject to the same capital control

requirements as banks. While almost all exchanges will indicate that they “securely” store all

customer assets 1:1 in “cold storage,” there is no regulatory requirement in most jurisdictions

(including the U.S.) for exchanges to do so, nor is there any requirement for exchanges to offer

any transparency regarding their solvency or use of customer assets to regulators or the public.

       46.     Other than by an exchange’s own terms of service – which FTX violated –

exchanges are not prevented from investing customer assets elsewhere, and if so, what types of

investments they enter into, or loans they provide, regardless of the inherent level of risk. Nor are

there any requirements for exchanges to have any type of insurance equivalent to FDIC insurance.

While some exchanges will sometimes claim they have ‘insurance,’ the terms and conditions

associated with that insurance are typically completely unknown to investors, and often this

insurance will bear little to no resemblance to FDIC insurance; in essence the term ‘insurance’ is

used as a marketing ploy to help instill customer confidence in the exchange, even when such

confidence may not be warranted.

       47.     Due to the risks surrounding the lack of regulation, as well various types of

cybersecurity-related risks that aren’t applicable to banks but are critically important for




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exchanges, cryptocurrency exchanges are generally not and should not be considered a ‘safe’ place

to store assets, whether cryptocurrency assets or fiat assets.

         48.      Indeed, there is an extensive track record of the cryptocurrency exchanges that have

shut down and ultimately failed,10 often in spectacular fashion. The most common reasons for an

exchange’s failure include:

               a) The exchange borrowing against customer assets (either to fund business
                  operations or lending them out in an effort to generate a profit) leading to
                  insolvency.
               b) The exchange trading or leveraging customer assets in an effort to generate a
                  profit, leading to insolvency.
               c) A hack or theft by an external actor
               d) Embezzlement, or theft by an internal actor, typically founder(s) of the exchange
               e) Disappeared suddenly, for no apparent reason (typically taking customer assets
                  with them).
Id.

         49.      When exchanges do shut down, it rarely happens in an organized and orderly

fashion, and it’s incredibly rare for customers that had assets on the exchange to get all their assets

back; in many cases, they end up getting nothing back. That is because investors’ cryptocurrency

belongs to the exchange if they elect to store it “on” the exchange, and if the exchange reneges or

is unable to fulfill its liability to the investor, the investor as the beneficial owner of the

cryptocurrency has effectively lost its money.




10
     https://www.cryptowisser.com/exchange-graveyard/ (accessed July 21, 2023).

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     III. The Rise and Fall of FTX and Alameda

         50.    FTX launched in May 2019 and rapidly became a leading cryptocurrency exchange.

FTX was led by SBF as its founder and Chief Executive Officer.

         51.    Prior to founding FTX, the Silicon Valley-born, MIT-educated SBF launched his

quantitative crypto trading firm, Alameda Research, in November 2017,11 after stints in the charity

world and at trading firm Jane Street.12 Quantitative trading consists of trading strategies based on

quantitative analysis, which rely on mathematical computations and number crunching to identify

trading opportunities.

         52.    By 2018, Bankman-Fried had persuaded Caroline Ellison to join him at Alameda

Research. In an interview for Forbes magazine regarding her initial impressions of Alameda,

Ellison described the recruitment as follows: “This was very much like, ‘oh, yeah, we don’t really

know what we’re doing,’”

         53.    In late 2018, Alameda Research relocated its headquarters to Hong Kong. The team

at Alameda Research included SBF’s close friends (and later co-founders of FTX) Nishad Singh

and Gary Wang. Ellison and Sam Trabucco were also part of the group and upon moving to Hong

Kong the group lived like college students and actively traded crypto.

         54.    Bankman-Fried got rich off FTX and Alameda, with the two companies netting

$350 million and $1 billion in profit, respectively, in 2020 alone, according to Bloomberg.

         55.    The FTX.com exchange was extremely successful since its launch. In 2022, around

$15 billion of assets were traded daily on the platform, which represented approximately 10% of

global volume for crypto trading. The FTX team grew to over 300 globally. Although the FTX


11
      https://www.businessinsider.com/ftx-crypto-king-sam-bankman-fried-rise-and-fall-2022-11
(accessed July 21, 2023).
12
        https://www.businessinsider.com/ftx-sbf-crypto-saga-explained-what-happened-what-it-
means-2022-11?inline-endstory-related-recommendations= (accessed July 21, 2023).

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Entities’ primary international headquarters was in the Bahamas, its domestic US base of

operations was in Miami, Florida.13

       56.     FTX quickly became one of the most utilized avenues for nascent investors to

purchase cryptocurrency. By the time FTX filed for bankruptcy protection, customers had

entrusted billions of dollars to it, with estimates ranging from $10-to-$50 billion dollars.

       57.     At his peak, Bankman-Fried was worth $26 billion. At 30, he had become a major

political donor, gotten celebrities and social medial influencers like the Defendant in this action to

vociferously promote FTX, and secured the naming rights to the arena where the NBA’s Miami

Heat play.14

       58.     Bankman-Fried’s cryptocurrency empire was officially broken into two main parts:

FTX (his exchange) and Alameda Research (his trading firm), both giants in their respective

industries.

       59.     Even though they are two separate businesses, the division between FTX and

Alameda breaks down in a key place: on Alameda’s balance sheet, which was full of the FTT

token issued by the FTX exchange that grants holders a discount on trading fees on its marketplace.

FTT tokens were the so-called “native token” of the FTX exchange: FTX created FTT and issued

it to both institutional and retail investors without registering with any regulator or undergoing any

audit or other external due diligence. FTX was able to create unlimited amounts of FTT. Thus, in

essence, Bankman-Fried’s trading giant Alameda rested on a foundation largely made up of a coin

that a sister company invented, not an independent asset like a fiat currency or another crypto.

       60.     Alameda borrowed assets from FTX’s customers, providing FTT tokens as


13
 https://www.coindesk.com/business/2022/09/27/crypto-exchange-ftx-is-moving-its-us-
headquarters-from-chicago-to-miami/ (accessed July 21, 2023).
14
 https://www.businessinsider.com/ftx-sbf-crypto-saga-explained-what-happened-what-it-means-
2022-11?inline-endstory-related-recommendations= (accessed July 21, 2023).

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collateral for those loans. Alameda also engaged in margin trading, essentially borrowing money

to execute risky trading strategies, which trades in turn were secured by the assets Alameda had

borrowed from FTX customers’ accounts. That leverage made Alameda’s trades (and thus FTX

customers’ funds) highly vulnerable to adverse market movements. 15

       61.     After suffering large losses in the wake of several high profile crypto-firm failures

in the spring and summer of 2022, Alameda borrowed from FTX some of its customers’ assets.16

Some have suggested that the loans were made for free.17

       62.     Having borrowed those customer assets, Alameda could then use them as cheap

collateral for margined trades with other parties.18 Indeed, obtaining collateral from other sources

would have been much more expensive.

       63.     In an Alameda balance sheet leaked in early November 2022, FTT tokens were

listed as Alameda’s largest asset holdings. Other assets listed on that balance sheet included SOL

tokens (issued by the Solana blockchain, in which Sam Bankman-Fried was an early investor) and

SRM tokens (issued by the Serum exchange that Sam Bankman-Fried co-founded).19 Alameda had




15
       https://www.coindesk.com/business/2022/11/02/divisions-in-sam-bankman-frieds-crypto-
empire-blur-on-his-trading-titan-alamedas-balance-sheet/ (accessed July 21, 2023).
16
   https://newsletter.mollywhite.net/p/the-ftx-collapse-the-latest-revelations (accessed July 21,
2023).
17
  https://www.cnbc.com/2022/11/13/sam-bankman-frieds-alameda-quietly-used-ftx-customer-
funds-without-raising-alarm-bells-say-sources.html (accessed July 21, 2023).
18
   For a more general discussion of the conflicts of interest inherent in these relationships, see
https://www.coppolacomment.com/2022/11/the-ftx-alameda-nexus.html (accessed July 21,
2023).
19
       https://www.coindesk.com/business/2022/11/02/divisions-in-sam-bankman-frieds-crypto-
empire-blur-on-his-trading-titan-alamedas-balance-sheet/ (accessed July 21, 2023).

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few assets that had not been created out of thin air by FTX or FTX-related entities, and when

falling crypto prices reduced the value of FTT, Alameda struggled to pay off its lenders.20

        64.     In early November 2022, crypto publication CoinDesk released a bombshell report

that called into question just how stable Bankman-Fried’s empire really was.21

        65.     After obtaining this information, Changpeng “CZ” Zhao, the CEO of Binance,

decided to liquidate roughly $530 million-worth of FTT. Customers also raced to pull out, and

FTX saw an estimated $6 billion in withdrawals over the course of 72 hours, which it struggled to

fulfill.22 The value of FTT plunged 32%, but rallied once again with Bankman-Fried’s surprise

announcement on Tuesday, November 8, 2022, that Binance would buy FTX, effectively bailing

it out.23

        66.     The next day, Binance announced that it was withdrawing from the deal, citing

findings during due diligence, as well as reports of mishandled customer funds and the possibility

of a federal investigation.24 The news sent FTT plunging even further — Bankman-Fried saw 94%




20
     https://www.nytimes.com/2022/11/30/business/dealbook/ftx-almeda-research-sam-bankman-
fried.html#:~:text=Alameda%20served%20as%20the%20token's,to%20facilitate%20its%20tradi
ng%20activities. (accessed July 21, 2023)
21
        https://www.businessinsider.com/ftx-sbf-crypto-saga-explained-what-happened-what-it-
means-2022-11?inline-endstory-related-recommendations= (accessed July 21, 2023.
22
 https://markets.businessinsider.com/news/currencies/ftx-6-billion-withdrawals-72-hours-sam-
bankman-fried-binance-2022-11 (accessed July 21, 2023).
23
 https://markets.businessinsider.com/news/currencies/ftx-6-billion-withdrawals-72-hours-sam-
bankman-fried-binance-2022-11 (accessed July 21, 2023).
24
  https://markets.businessinsider.com/news/currencies/ftx-crash-sec-cftc-probes-asset-liability-
shortfall-6-billion-2022-11 (accessed July 21, 2023).

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of his net worth wiped out in a single day.25 On November 11, 2022, unable to obtain a bailout,

FTX filed for Chapter 11 bankruptcy and Bankman-Fried resigned as CEO.26

         67.    This chain of events was entirely foreseeable to those who were aware of FTX’s

relationship with Alameda, and their respective dependence on the purported value of FTT. Indeed,

as discussed above, their respective reliance on FTT as a mechanism to prop them up and to

purportedly offer protection (which was in effect illusory) to FTX customers’ whose assets had

been lent to Alameda was a risk that was obvious to insiders, but otherwise undisclosed to the

market and FTX’s customers. The very risk of which Alameda, FTX, and its insiders were aware,

accordingly, swiftly came to bear, and FTX’s customers were the victims.

         68.    Following his resignation, Bankman-Fried issued a 22-tweet-long explanation of

where he believed he and the FTX Entities went wrong:27




25
     https://www.businessinsider.com/ftx-ceo-crypto-binance-sam-bankman-fried-wealth-wiped-
out-2022-11 (accessed July 21, 2023).
26
  https://markets.businessinsider.com/news/currencies/ftx-bankruptcy-sam-bankman-fried-ceo-
crypto-binance-alameda-markets-2022-11 (accessed July 21, 2023).
27
     https://twitter.com/SBF_FTX/status/1590709189370081280 (accessed July 21, 2023).

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       69.     According to a recent Reuters report, however, another explanation contributing to

the precarious house of cards that was the FTX Platform is that earlier this year, Bankman-Fried

secretly transferred at least $4 billion in customer funds from FTX to Alameda without telling

anyone, after Alameda was hit with a series of losses, and that the FTX entities lent more than half




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of its $16 billion in customer funds to Alameda in total, with more than $10 billion in loans

outstanding.28

     IV. FTX Insiders Plead Guilty to Numerous Criminal Charges Relating to FTX’s
         Fraudulent Scheme

         70.     On January 3, 2023, SBF pled not guilty to eight criminal charges during a court

hearing at the U.S. District Court for the Southern District in USA v. Bankman-Fried, 1:22-cr-

00673-LAK-1. On February 23, 2023, a Superseding Indictment was unsealed, which added four

more charges, including charges for conspiracy to commit bank fraud and unlicensed money

transmitting business, and money laundering. Id., Doc. 80. SBF faces over 100 years in prison in

connection with charges predicated on his lying to investors and stealing billions of dollars in

customers’ money. His trial is set to commence in October 2023.

         71.     In December 2022, Ellison and Wang pled guilty to criminal charges stemming

from FTX’s collapse, including conspiracy to commit wire fraud, conspiracy to commit

commodities fraud, conspiracy to commit securities fraud, and conspiracy to commit money

laundering. In entering her guilty plea, Ellison told a federal judge in Manhattan:

          From approximately March 2018 through November 2022, I worked at Alameda
          Research, a cryptocurrency trading firm principally owned by Sam Bankman-
          Fried.

          From 2019 through 2022, I was aware that Alameda was provided access to a
          borrowing facility on FTX.com, the cryptocurrency exchange run by Mr.
          Bankman-Fried. I understood that FTX executives had implemented special
          settings on Alameda’s FTX.com account that permitted Alameda to maintain
          negative balances in various fiat currencies and crypto currencies. In practical
          terms, this arrangement permitted Alameda access to an unlimited line of credit
          without being required to post collateral, without having to pay interest on
          negative balances and without being subject to margin calls or FTX.com's
          liquidation protocols. I understood that if Alameda’s FTX accounts had



28
    https://markets.businessinsider.com/news/currencies/ftx-crash-client-funds-alameda-binance-
sbf-sec-cftc-probe-2022-11?utm_medium=ingest&utm_source=markets (accessed July 21, 2023).

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        significant negative balances in any particular currency, it meant that Alameda
        was borrowing funds that FTX's customers had deposited onto the exchange.

        While I was co-CEO and then CEO, I understood that Alameda had made
        numerous large illiquid venture investments and had lent money to Mr.
        Bankman-Fried and other FTX executives. I also understood that Alameda had
        financed these investments with short-term and open-term loans worth several
        billion dollars from external lenders in the cryptocurrency industry. When many
        of those loans were recalled by Alameda’s lenders in and around June 2022, I
        agreed with others to borrow several billion dollars from FTX to repay those
        loans. I understood that FTX would need to use customer funds to finance its
        loans to Alameda. I also understood that many FTX customers invested in crypto
        derivatives and that most FTX customers did not expect that FTX would lend
        out their digital asset holdings and fiat currency deposits to Alameda in this
        fashion. From in and around July 2022 through at least October 2022, I agreed
        with Mr. Bankman-Fried and others to provide materially misleading financial
        statements to Alameda's lenders. In furtherance of this agreement, for example,
        we prepared certain quarterly balance sheets that concealed the extent of
        Alameda's borrowing and the billions of dollars in loans that Alameda had made
        to FTX executives and to related parties. I also understood that FTX had not
        disclosed to FTX's equity investors that Alameda could borrow a potentially
        unlimited amount from FTX, thereby putting customer assets at risk. I agreed
        with Mr. Bankman-Fried and others not to publicly disclose the true nature of
        the relationship between Alameda and FTX, including Alameda's credit
        arrangement.

        I also understood that Mr. Bankman-Fried and others funded certain investments
        in amounts more than $10,000 with customer funds that FTX had lent to
        Alameda. The investments were done in the name of Alameda instead of FTX
        in order to conceal the source and nature of those funds. I am truly sorry for what
        I did. I knew that it was wrong. And I want to apologize for my actions to the
        affected customers of FTX, lenders to Alameda and investors in FTX. Since
        FTX and Alameda collapsed in November 2022, I have worked hard to assist
        with the recovery of assets for the benefit of customers and to cooperate with
        the government’s investigation. I am here today to accept responsibility for my
        actions by pleading guilty.29
       72.    In entering his guilty plea, Wang similarly told the federal judge in Manhattan:

        Between 2019 and 2022, as part of my employment at FTX, I was directed to
        and agreed to make certain changes to the platform’s code. I executed those
        changes, which I knew would Alameda Research special privileges on the FTX

29
         https://www.johnreedstark.com/wp-content/uploads/sites/180/2022/12/Ellison-Hearing-
Transcript.pdf (last accessed July 21, 2023)

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         platform. I did so knowing that others were representing to investors and
         customers that Alameda had no such special privileges and people were likely
         investing in and using FTX based in part on those misrepresentations. I knew
         what I was doing was wrong. I also knew that the misrepresentations were being
         made by telephone and internet, among other means, and that assets traded on
         FTX included some assets that the U.S. regulators regard as securities and
         commodities.

        73.    On February 28, 2023, Nishad Singh, who was one of SBF’s best friends, a core

Alameda engineer, and head of FTX’s engineering, also pled guilty to criminal counts for

conspiracy to commit fraud and conspiracy to commit money laundering. He agreed to cooperate

with prosecutors’ investigation into Bankman-Fried, apologized for his role in FTX’s scheme, and

admitted that he knew by mid-2022 that Alameda was borrowing FTX customer funds and that

customers were not aware.30

     V. The SEC’s Consistent Approach to Cryptocurrency

        A. Overview

        74.    The SEC’s stance on cryptocurrency has been clear and consistent from the

beginning. The Securities and Exchange Acts are intentionally drafted to apply to a broad range of

securities. As such, the definitions of “security” in Section 2(a)(1) of the Securities Act of

1933 (Securities Act), 15 U.S.C. 77b(a)(1), and Section 3(a)(10) of the Securities Exchange Act

of 1934 (Exchange Act), 15 U.S.C. 78c(a)(10), include not only conventional securities, such as

“stock[s]” and “bond[s],” but also the more general term “investment contract.”

        75.    Along these lines, in Reves v. Ernst & Young, the Supreme Court stated that:

               The fundamental purpose undergirding the Securities Acts is ‘to
               eliminate serious abuses in a largely unregulated securities
               market.’ United Housing Foundation, Inc. v. Forman, 421 U.S.
               837, 421 U.S. 849 (1975). In defining the scope of the market that
               it wished to regulate, Congress painted with a broad brush. It
               recognized the virtually limitless scope of human ingenuity,

30
       https://www.reuters.com/legal/ftxs-singh-agrees-plead-guilty-us-criminal-charges-lawyer-
says-2023-02-28/ (accessed July 21, 2023).

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                 especially in the creation of ‘countless and variable schemes
                 devised by those who seek the use of the money of others on the
                 promise of profits, SEC v. W.J. Howey Co., 328 U.S. 293, 328 U.S.
                 299 (1946), and determined that the best way to achieve its goal of
                 protecting investors was ‘to define the term ”security” in
                 sufficiently broad and general terms so as to include within that
                 definition the many types of instruments that in our commercial
                 world fall within the ordinary concept of a security.’ . . . Congress
                 therefore did not attempt precisely to cabin the scope of the
                 Securities Acts . . . Rather, it enacted a definition of ‘security’
                 sufficiently broad to encompass virtually any instrument that might
                 be sold as an investment.” (emphasis added)31

          76.    Crafted to contemplate not only known securities arrangements at the time, but also

any prospective instruments created by those who seek the use of others’ money on the promise

of profits, the definition of “security” is broad, sweeping, and designed to be flexible to capture

new instruments that share the common characteristics of stocks and bonds. As Supreme Court

Justice (and former SEC Commissioner (1935) and Chair (1936-37)) William O. Douglas opined

in Superintendent of Insurance v. Bankers Life and Casualty Co.:

                 We believe that section 10(b) and Rule 10b-5 prohibit all fraudulent
                 schemes in connection with the purchase or sale of securities,
                 whether the artifices employed involve a garden type variety fraud,
                 or present a unique form of deception. Novel or atypical methods
                 should not provide immunity from the securities laws.

          77.    Federal courts have already confirmed the SEC’s jurisdiction in numerous crypto-

related emergency asset freeze hearings where the issue is always considered and affirmed, same

as it has been by hundreds of federal courts across the country since the Howey Decision, which

the Supreme Court adopted over 75 years ago.32 That decision resulted in the Howey Test, which

is used to determine the presence of an investment contract. The Howey Test provides that an

investment contract exists if there is an “investment of money in a common enterprise with a


31
 https://scholar.google.com/scholar_case?case=18068523124125938239&q=Reves+v.+Ernst+
%26+Young&hl=en&as_sdt=400006&as_vis=1 (accessed July 21, 2023).
32
     https://supreme.justia.com/cases/federal/us/328/293/ (accessed July 21, 2023).

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reasonable expectation of profits to be derived from the efforts of others.”33 The Howey Test is the

principal method used by the SEC to determine if a given cryptocurrency is a security.

           78.   The SEC has used multiple distribution channels to share its message and concerns

regarding crypto, digital trading platforms, initial coin offerings, and other digital asset products

and services over the past decade. The SEC first made investors aware of the dangers of investing

in cryptocurrency in 2013 when the Office of Investor Education and Advocacy issued an Investor

Alert on “Ponzi Schemes Using Virtual Currencies.”34

           79.   A year later, the same office issued an Investor Alert on “Bitcoin and Other Virtual

Currency-Related Investments.”35 In 2017, the Commission took the rare step of releasing a

Section 21(a) Report of Investigation that looked at the facts and circumstances of The DAO,

which offered and sold approximately 1.15 billion DAO Tokens in exchange for a total of

approximately 12 million Ether (“ETH”) over a one-month period in 2016.36 The SEC applied the

Howey Test to the DAO tokens and concluded they were securities under the Securities Act of

1933 (“Securities Act”) and the Securities Exchange Act of 1934 (“Exchange Act”). While The

DAO, and DAO tokens, were no longer operational at the time due to a high-profile hack that

resulted in the theft of most DAO tokens, the Commission chose to release the report so as “to

advise those who would use a Decentralized Autonomous Organization (“DAO Entity”), or other




33
     Id.
34
     ia_virtualcurrencies.pdf (sec.gov) (accessed July 21, 2023).
35
  Investor Alert: Bitcoin and Other Virtual Currency-Related Investments | Investor.gov (accessed
July 21, 2023).
36
     https://www.sec.gov/litigation/investreport/34-81207.pdf (accessed July 21, 2023).

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distributed ledger or blockchain-enabled means for capital raising, to take appropriate steps to

ensure compliance with the U.S. federal securities laws.”37

         80.     In 2019, the SEC released a “Framework for ‘Investment Contract’ Analysis of

Digital Assets” which provided additional details on when a digital asset has the characteristics of

an investment contract and “whether offers and sales of a digital asset are securities transactions.”38

         81.     In addition, the SEC has publicized its position on cryptocurrency in

countless enforcement       actions,39    multiple speeches,40 Congressional        testimony,41   and

several official SEC statements42 and proclamations.43 Current SEC Chairman, Gary Gensler, has

spoken frequently about the perils and illegality of crypto lending platforms and decentralized

finance,44 warning that their failure to register with the SEC may violate U.S. securities laws.45 In

one interview, Gensler said:

                 The law is clear, it’s not about waving a wand. Congress spoke about
                 this in 1934 . . . When a [digital] platform has securities on it, it is




37
 Report of Investigation Pursuant to Section 21(a) of the Securities Exchange Act of 1934: The
DAO (accessed July 21, 2023).
38
  SEC.gov | Framework for “Investment Contract” Analysis of Digital Assets (accessed July 21,
2023).
39
     SEC.gov | Crypto Assets and Cyber Enforcement Actions (accessed July 21, 2023).
40
  https://www.sec.gov/news/speech/gensler-aspen-security-forum-2021-08-03 (accessed July 21,
2023).
41
     https://www.sec.gov/news/testimony/gensler-2021-05-26 (accessed July 21, 2023).
42
   https://www.sec.gov/news/public-statement/statement-clayton-2017-12-11(accessed July 21,
2023).
43
 https://www.sec.gov/news/public-statement/enforcement-tm-statement-potentially-unlawful-
online-platforms-trading (accessed July 21, 2023).
44
  https://www.theblock.co/post/113416/gensler-speech-crypto-defi-lending-sec(accessed July 21,
2023).
45
 https://ca.finance.yahoo.com/news/crypto-platforms-dont-register-with-sec-outside-the-law-
gensler- 164215740.html (accessed July 21, 2023).

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                 an exchange, and it’s a question of whether they’re registered or
                 they’re operating outside of the law and I’ll leave it at that.46

           82.   On September 8, 2022, Chair Gensler gave a speech reflecting on the flexibility of

the securities laws and the SEC’s consistency in applying these laws to cryptocurrency.47 Gensler

noted that of the 10,000 different cryptocurrencies in the market, “the vast majority are securities,”

a position that was also held by his predecessor, Jay Clayton.48 Gensler went on to note that the

SEC has spoken with a “pretty clear voice” when it comes to cryptocurrency “through the DAO

Report, the Munchee Order, and dozens of Enforcement actions, all voted on by the Commission”

and that “[n]ot liking the message isn’t the same thing as not receiving it.”49

           83.   The judicial record supports Chair Gensler’s assertions. The SEC has taken over

100 crypto-related enforcement actions and has not lost a single case.50

           84.   What follows are summaries of five cases that will help inform this litigation.

           B. SEC v. KIK

           85.   In Kik51, the SEC’s complaint52, filed in the U.S. District Court for the Southern

District of New York on June 4, 2019, alleged that Kik sold digital asset securities to U.S. investors

without registering their offer and sale as required by the U.S. securities laws. Kik argued that the

SEC’s lawsuit against it should be considered “void for vagueness.”53


46
  https://www.theblock.co/post/113416/gensler-speech-crypto-defi-lending-sec(accessed July 21,
2023).
47
     SEC.gov | Kennedy and Crypto (accessed July 21, 2023).
48
     Id.
49
     Id.
50
     SEC Cryptocurrency Enforcement: 2021 Update (cornerstone.com) (accessed July 21, 2023).
51
     https://www.sec.gov/news/press-release/2020-262 (accessed July 21, 2023).
52
     https://www.sec.gov/news/press-release/2019-87 (accessed July 21, 2023).
53
  https://www.financemagnates.com/cryptocurrency/news/sec-seeks-to-block-kik-subpoenas-
refutes-void-for-vagueness-claim/ (accessed July 21, 2023).

                                                  33
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         86.     The court granted the SEC’s motion for summary judgment on September 30, 2020,

finding that undisputed facts established that Kik’s sales of “Kin” tokens were sales of investment

contracts (and therefore of securities) and that Kik violated the federal securities laws when it

conducted an unregistered offering of securities that did not qualify for any exemption from

registration requirements. The court further found that Kik’s private and public token sales were a

single integrated offering.

         C. SEC v. Telegram

         87.     In Telegram,54 the SEC filed a complaint55 on October 11, 2019, alleging that the

company had raised capital to finance its business by selling approximately 2.9 billion “Grams” to

171 initial purchasers worldwide. The SEC sought to preliminarily enjoin Telegram from

delivering the Grams it sold, which the SEC alleged were securities that had been offered and sold

in violation of the registration requirements of the federal securities laws.

         88.     Telegram argued56 that the SEC has “engaged in improper ‘regulation by

enforcement’ in this nascent area of the law, failed to provide clear guidance and fair notice of its

views as to what conduct constitutes a violation of the federal securities laws, and has now adopted

an ad hoc legal position that is contrary to judicial precedent and the publicly expressed views of

its own high-ranking officials.”

         89.     On March 24, 2020, the U.S. District Court for the Southern District of New York

issued a preliminary injunction57 barring the delivery of Grams and finding that the SEC had shown



54
     https://www.sec.gov/news/press-release/2020-146 (accessed July 21, 2023).
55
     https://www.sec.gov/news/press-release/2019-212 (accessed July 21, 2023).
56
 https://www.financemagnates.com/cryptocurrency/news/sec-vs-telegram-will-gram-tokens-
ever-be-distributed/ (accessed July 21, 2023).
57
  SEC v. Telegram: A Groundbreaking Decision in Cryptocurrency Enforcement? | Insights |
Greenberg Traurig LLP (gtlaw.com) (accessed July 21, 2023).

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a substantial likelihood of proving that Telegram’s sales were part of a larger scheme to distribute

the Grams to the secondary public market unlawfully.

          90.    Without admitting or denying the allegations in the SEC’s complaint, the

defendants consented to the entry of a final judgment enjoining them from violating the registration

provisions of Sections 5(a) and 5(c) of the Securities Act of 1933. The judgment ordered the

defendants to disgorge, on a joint and several basis, $1,224,000,000.00 in ill-gotten gains from the

sale of Grams, with credit for the amounts Telegram pays back to initial purchasers of Grams. It

also ordered Telegram Group Inc. to pay a civil penalty of $18,500,000. For the next three years,

Telegram is further required to give notice to the SEC staff before participating in the issuance of

any digital assets.

          D. SEC v. BlockFi

          91.    In BlockFi Lending LLC, the first SEC case ever involving a crypto-lending

program, on February 22, 2022, the SEC charged BlockFi 58with failing to register the offers and

sales of its retail crypto-lending product and also charged BlockFi with violating the registration

provisions of the Investment Company Act of 1940.

          92.    BlockFi argued for “increased regulatory clarity” but lost.59

          93.    To settle the SEC’s charges, BlockFi agreed to pay a $50 million penalty, cease its

unregistered offers and sales of the lending product, BlockFi Interest Accounts (BIAs), and bring

its business within the provisions of the Investment Company Act within 60 days. BlockFi’s parent

company also announced that it intends to register under the Securities Act of 1933 the offer and

sale of a new lending product. In parallel actions, BlockFi agreed to pay an additional $50 million

in fines to 32 states to settle similar charges.


58
     https://lnkd.in/d-Xy45ec (accessed July 21, 2023).
59
     https://blockfi.com/pioneering-regulatory-clarity (accessed July 21, 2023).

                                                   35
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           E. SEC Wells Notice to Coinbase

           94.   In 2021, Coinbase began marketing a cryptocurrency lending product called Lend.

The Lend program purported to allow some Coinbase customers to ”earn interest on select assets

on Coinbase, starting with 4% APY on USD Coin (USDC).”60 According to Coinbase, its lawyers

reached out to the SEC to discuss its Lend product, at which point SEC staff instead served

Coinbase with a Wells Notice, informing Coinbase of their intention to seek approval from the

SEC Commissioners to file a civil enforcement action against Coinbase for violating the federal

securities laws.

           95.   According to Coinbase, the SEC issued the Wells Notice because of Coinbase’s

failure to file a registration statement with the SEC for the offering of its Lend product, which the

SEC believed was a security.61

           96.   The two cases that Coinbase claims the SEC cites as support for its Wells Notice

are SEC v. Howey and Reves v. Ernst & Young. Reves addressed the question of whether a product

is a “note” and hence a security (applying the so-called “Family Resemblance Test”).

           97.   Under the Lend program, Coinbase customers were clearly investing “money” at

Coinbase and placing their faith in Coinbase to generate a profit for them. Lend investors would

have no say in how Coinbase runs the Lend program and Coinbase was not going to permit Lend

investors to participant in Lend-related decisions. Given these facts, Lend was clearly an

investment contract.

           98.   Under Reves, Lend may have also been a “note” and hence a security. Although the

term “note” is included in the statutory definition of a security, case law has determined that not



60
  The SEC has told us it wants to sue us over Lend. We don’t know why. - Blog (coinbase.com)
(accessed July 21, 2023).
61
     Id.

                                                 36
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every “note” is a security. The definition specifically excludes notes with a term of less than nine

months and courts have carved out a range of exemptions over the years for commercial paper-

type notes such as purchase money loans and privately negotiated bank loans. To reconcile these

varying cases, the U.S. Supreme Court in Reves established the “family resemblance test,” to

determine whether a note is a security.

       99.     Per the “family resemblance test,” a presumption that a note is a security can only

be rebutted if the note bears a resemblance to one of the enumerated categories on a judicially

developed list of exceptions, as follows: 1) a note delivered in consumer financing; 2) a note

secured by a mortgage on a home; 3) a short-term note secured by a lien on a small business or

some of its assets; 4) a note evidencing a character loan to a bank customer; 5) a short-term note

secured by an assignment of accounts receivable; 6) a note which simply formalizes an open-

account debt incurred in the ordinary course of business (such as a trade payable for office

supplies); and 7) a note evidencing loans by commercial banks for current operations.

       100.    The “family resemblance” analysis requires:

               •   A consideration of the motivation of the seller and buyer (e.g. is the seller
                   looking for investment and the buyer looking for profit?);

               •   The plan of distribution of the note (e.g. is the product being marketed as an
                   investment?);

               •   The expectation of the creditor/investor (e.g. would the investing public
                   reasonably expect the application of the securities laws to the product); and

               •   The presence of an alternative regulation (e.g. will the product be registered as
                   a banking product and the offered registered as a bank?).

       101.    Applying the family resemblance test to Lend reveals the presence of a note. First,

Coinbase likened the Lend program to that of a savings account, where the Lend customer is

looking for a profitable investment and Coinbase is looking for investors. Second, Coinbase

marketed the Lend program as an investment. Third, investors would expect that securities


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regulation applies. Fourth, Coinbase is not a bank, so their so-called savings account falls under

no other regulatory jurisdiction and protection.

           102.   Given the clear facts of the case, Coinbase decided to cancel the Lend program.62

     VI. FTX’s offer and sale of YBAs, which are unregistered securities.

           103.   Beginning in 2019, the FTX Entities began offering the YBAs to public investors

through its Earn program. Plaintiff and other similarly situated individuals invested in FTX’s

YBAs.

           104.   The details of the Earn program were listed on the FTX website.63 Under the section

titled “How can I earn yield on my FTX deposits?” on the FTX website, the company describes

the Earn program as follows:

                  You can now earn yield on your crypto purchases and deposits, as
                  well as your fiat balances, in your FTX app! By opting in and
                  participating in staking your supported assets in your FTX account,
                  you’ll be eligible to earn up to 8% APY on your assets.64

           105.   On the same webpage, the company also states:

                  The first $10,000 USD value in your deposit wallets will
                  earn 8% APY. Amounts held above $10,000 up to $100,000 USD
                  in value (subject to market fluctuations) will earn 5% APY.65

           106.   Nowhere on the website does FTX describe how this yield will be generated;

readers are given the impression that the yield will come from “staking your supported assets in

your FTX account” although nowhere does the company describe what staking actually is.




62
     Coinbase cancels Lend program launch after SEC fight - The Verge (accessed July 21, 2023).
63
     FTX App Earn – FTX Exchange (accessed July 21, 2023).
64
     FTX App Earn – FTX Exchange (accessed July 21, 2023).
65
     Id.

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         107.    Staking is a technical concept that applies to the blockchain consensus mechanism

called Proof of Stake, which some cryptocurrencies utilize.66 Staking serves a similar function to

cryptocurrency mining, in that it is the process by which a network participant gets selected to add

the latest batch of transactions to the blockchain and earn some crypto in exchange. While the

exact mechanism will vary from project to project, in general, users will put their token on the line

(i.e., “stake”) for a chance to add a new block onto the blockchain in exchange for a reward. Their

staked tokens act as a guarantee of the legitimacy of any new transaction they add to the

blockchain. The network chooses validators based on the size of their stake and the length of time

they’ve held it. Thus, the most invested participants are rewarded. If transactions in a new block

are discovered to be invalid, users can have a certain amount of their stake burned by the network,

in what is known as a slashing event.67

         108.    Some within the crypto community argue that staking is not a security because it is

simply part of the code by which specific cryptocurrencies operate. In other words, some argue

that staking programs are different from lending programs because user assets are not actually

being “lent” out to third parties. But in September 2022, SEC Chairman Gary Gensler told

reporters that “cryptocurrencies and intermediaries that allow holders to ‘stake’ their coins might

pass” the Howey Test.68 According to Gensler, “From the coin’s perspective…that’s another

indicia that under the Howey test, the investing public is anticipating profits based on the efforts

of others.” The Wall Street Journal noted that if an intermediary such as a crypto exchange offers




66
     For example, Ethereum, Tezos, Cosmos, Solana, and Cardano all use Proof of Stake.
67
  The staking definition comes from the Coinbase website: What is staking? | Coinbase (accessed
July 21, 2023).
68
     Ether’s New ‘Staking’ Model Could Draw SEC Attention - WSJ (accessed July 21, 2023).

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staking services to its customers, Mr. Gensler said, it “looks very similar—with some changes of

labeling—to lending.”69

           109.   Applying Howey to the FTX Earn program reveals that Earn is an investment

contract. An investment contract is present because users are clearly entrusting their funds to FTX.

FTX is deploying customer assets in a discretionary manner. Therefore, the efforts of FTX are

instrumental in generating the users’ yield and of course users have an expectation of profit

because FTX is advertising yields of up to 8% APY.

           110.   From a securities perspective, the Howey Test defines an investment contract if it

is (1) an investment of money; (2) in a common enterprise; (3) with a reasonable expectation of

profits to be derived from the entrepreneurial or managerial efforts of others.

           111.   Plaintiffs here invested money. Plaintiffs’ investment of assets, even if such

investments were in the form of cryptocurrencies, satisfy the “investment of money” prong for an

investment contract.

           112.   Plaintiffs here invested in a common enterprise. FTX promoted and paid for

advertisements which touted earning up to 8% “yield” on any fiat or crypto held in a YBA, along

with representations that customers are eligible to earn the “yield,” on an hourly basis, simply by

passively keeping the funds in the YBA. FTX also made the same YBAs available to all FTX

customers, and all assets held in the account, whether crypto or fiat, earned the same rate of

interest. Once investors logged into their YBAs, the earn capability was automatically enabled,

and they passively earned yield. FTX has admitted that these earn “[s]ervices are provided by FTX

for its customers,” that FTX “transmits value from your [YBA]” and those “assets will be used to

generate a fixed yield for the user.” FTX’s Terms of Service further make clear that investor funds



69
     Id.

                                                  40
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are pooled together and used for lending and investment activities that would generate the yield,

i.e., “Your balances in your [YBA] are not segregated and cryptocurrency or cash are held in

shared addresses or accounts, as applicable.” The blockchains data contains an immutable and

verifiable record of data that shows that FTX customer deposits went into accounts operated by a

common enterprise, namely, FTX.

       113.    Plaintiffs here invested with the expectation of profit from the efforts of others.

FTX customers clearly had an expectation of profit, as they were guaranteed to earn up to 8%

“yield” for any fiat or crypto held in a YBA. FTX represented that customers are eligible to earn

the “yield,” which is rewarded hourly simply by passively keeping the funds in the YBA.

Moreover, Plaintiffs expected that they would earn these yield profits primarily, if not solely, from

FTX’s efforts in managing the assets invested into the YBAs, and not through their own efforts.

Indeed, the assets were not actually “in” Plaintiffs’ YBAs at all and were instead pooled with all

other FTX customer assets, as explained in the FTX’s Terms of Service, i.e., “Your balances in

your [YBA] are not segregated and cryptocurrency or cash are held in shared addresses or

accounts, as applicable.” The yield was generated entirely through FTX’s efforts from either

staking assets from the pooled account or otherwise lending assets, most notably to Alameda., FTX

freely admits that the yield was earned entirely through FTX’s efforts, as they admit that the Earn

“Services are provided by FTX for its customers,” that FTX “transmits value from your [YBA]”

and those “assets will be used to generate a fixed yield for the user.70

       114.    In addition, the FTX Yield-bearing account was portrayed as passive income

stream. A customer needs to do nothing more than ensure they are subscribed to the yield program,

and that they have deposited assets (of crypto or even fiat) in order to earn the 5% or 8% yield,


70
   https://help.ftx.com/hc/en-us/articles/10573545824532-FTX-App-Earn (accessed July 21,
2023).

                                                 41
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which they clearly indicate is counted hourly. There is no further work or action needed on the

part of the user. The work that ‘others’ (namely FTX) would need to do would include, at a

baseline, sending transactions. But it would also require FTX to make an effort by leveraging and

investing the money elsewhere which could theoretically come about either via giving out loans,

employing trading strategies, ‘staking,’ making other investments, or giving out loans to entities

(such as Alameda) that would employ such strategies. The primary strategy that FTX portrayed to

investors was “staking,” as discussed herein.

         115.    The FTX Earn program was a note under Reves as well. First, FTX offered Earn to

obtain crypto assets for the general use of its business, namely, to run its activities to pay interest

to Earn investors, and users purchased YBAs and were automatically opted-in to Earn to receive

interest on their crypto assets. Second, Earn was offered and sold to a broad segment of the general

public. Third, FTX promoted Earn as an investment; on their website, FTX notes that Earn users

will receive “yield earnings” on their “investment portfolio.”71 Fourth, no alternative regulatory

scheme or other risk reducing factors exist with respect to Earn. Note that the above analysis

mirrors that provided by the SEC in their BlockFi order.72

         116.    On October 14, 2022, Director of Enforcement of the Texas State Securities Board,

Joseph Rotunda, filed a declaration in the Chapter 11 bankruptcy proceedings pending in

connection with the collapse of the Voyager Digital cryptocurrency exchange, In re: Voyager

Digital Holdings, Inc., et al., Case No. 22-10943 (MEW), ECF No. 536 (Bankr. S.D.N.Y. Oct. 14,

2022), in which he explained how the YBAs are in fact “an offering of unregistered securities in

the form of yield-bearing accounts to the residents of the United States.” Id., at 6. In his declaration,

the pertinent portions of which are reproduced in full for ease of reference, Rotunda explains:


71
     FTX App Earn – FTX Exchange (accessed July 21, 2023).
72
     https://www.sec.gov/news/press-release/2022-26 (accessed July 21, 2023).

                                                   42
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        I am also familiar with FTX Trading LTD (“FTX Trading”) dba FTX as
        described herein. As more fully explained throughout this declaration, I am
        aware that FTX Trading, along with West Realm Shires Services Inc. dba FTX
        US (“FTX US”), may be offering unregistered securities in the form of yield-
        bearing accounts to residents of the United States. These products appear similar
        to the yield-bearing depository accounts offered by Voyager Digital LTD et al.,
        and the Enforcement Division is now investigating FTX Trading, FTX US, and
        their principals, including Sam Bankman-Fried.

        I understand that FTX Trading is incorporated in Antigua and Barbuda and
        headquartered in the Bahamas. It was organized and founded in part by Mr.
        Bankman-Fried, and FTX Trading appears to be restricting operations in the
        United States. For example, domestic users accessing the webpage for FTX
        Trading at ftx.com are presented with a pop-up window that contains a
        disclaimer that reads in part as follows:
              Did you mean to go to FTX US? FTX US is a US licensed
              cryptocurrency exchange that welcomes American users.
              You’re accessing FTX from the United States. You won’t be able to
              use any of FTX.com’s services, though you’re welcome to look
              around the site.
        FTX US claims to be regulated as a Money Services Business with FinCEN (No.
        31000195443783) and as a money transmitter, a seller of payment instruments
        and in other non-securities capacities in many different states. It is not, however,
        registered as a money transmitter or in any other capacity with the Texas
        Department of Banking and it is not registered as a securities dealer with the
        Texas State Securities Board.

        FTX US owns 75 percent or more of the outstanding equity of FTX Capital
        Markets (CRD No. 158816) (“FTX Capital”), a firm registered as a broker-
        dealer with the United States Securities and Exchange Commission, the
        Financial Industry Regulatory Authority Inc., and 53 state and territorial
        securities regulators. FTX Capital’s registration as a dealer in Texas became
        effective on May 7, 2012, and the registration continues to remain in force and
        effect.

        FTX US maintains a website at https://ftx.us that contains a webpage for
        smartphone applications for FTX (formerly Blockfolio)73 (the “FTX Trading

73
  Based upon information and belief, FTX Trading acquired Blockfolio LLC (“Blockfolio”) in or
around August 2020. At the time, Blockfolio managed a cryptocurrency application. FTX Trading
appears to have thereafter rebranded Blockfolio and its smartphone application as FTX. Now, users
can download the FTX Trading App from Apple’s App Store or Google’s Google Play Store.
Although FTX rebranded Blockfolio, the application listing in Apple’s App Store still shows the
application was developed by Blockfolio.

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App”) and FTX US Pro. Users appear able to click a link in this webpage to
download the FTX Trading App even when they reside in the United States.

On October 14, 2022, I downloaded and installed the FTX Trading App on my
smartphone. I created an account with FTX Trading through the FTX Trading
App and linked the FTX account to an existing personal bank account. During
the process, I provided my full first and last name and entered my residential
address in Austin, Texas. I also accessed hyperlinks in the FTX Trading App
that redirected to the Privacy Policy and Terms of Service. Although I was from
the United States and was using the application tied to FTX Trading, the Privacy
Policy and Terms of Service were from FTX US - not FTX Trading.

I thereafter used the FTX Trading App to initiate the transfer of $50.00 from my
bank account to the FTX account and then transferred .1 ETH from a 3.0 wallet
to the FTX account. The transfer of funds from my bank account to the FTX
account will take up to six days to complete but the transfer of ETH was
processed within a few minutes.

The FTX Trading App showed that I was eligible to earn a yield on my deposits.
It also explained the “Earn program is provided by FTX.US” – not FTX Trading.
It also represented that “FTX Earn rewards are available for US users on a
promotional basis.”

I recall the FTX Trading App’s default settings were automatically configured
to enable the earning of yield. The application also contained a link for additional
information about yield. I accessed the link and was redirected to a recent article
published by “Blockfolio Rebecca” under help.blockfolio.com. The article
began as follows:
      You can now earn yield on your crypto purchases and deposits, as
      well as your fiat balances, in your FTX Trading App! By opting in
      and participating in staking your supported assets in your FTX
      account, you’ll be eligible to earn up to 8% APY on your staked
      assets. THIS APY IS ESTIMATED AND NOT GUARANTEED
      AS DESCRIBED BELOW.
The article also described the payment of yield. It contained a section titled How
do you calculate APY? Does my balance compound daily? that read, in part, as
follows:
      FTX will deposit yield earnings from the staked coins, calculated
      hourly, on the investment portfolio that is stored in your FTX
      Trading App. Yield will be compounded on principal and yield you
      have already earned. Any cryptocurrency that you have deposited
      on FTX as well as any fiat balance you may have on your account,
      will earn yield immediately after you have opted into the program.



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      The first $10,000 USD value in your deposit wallets will earn 8%
      APY. Amounts held above $10,000 up to $10MM USD in value
      (subject to market fluctuations) will earn 5% APY. In this scenario,
      your yield earned on the coins will look something like the examples
      below the table.
The article also contained a section titled Is this available in my country? This
section explained that “FTX Trading App Earn is available to FTX Trading App
customers that are in one of the FTX permitted jurisdictions.” It contained a
hyperlink to an article titled Location Restrictions published by FTX Crypto
Derivatives Exchange under help.ftx.com. This article described various
restrictions on operations in certain countries and locations and read in part as
follows:
      FTX does not onboard or provide services to corporate accounts of
      entities located in, established in, or a resident of the United States
      of America, Cuba, Crimea and Sevastopol, Luhansk People’s
      Republic, Donetsk People’s Republic, Iran, Afghanistan, Syria,
      or North Korea. FTX also does not onboard corporate accounts
      located in or a resident of Antigua or Barbuda. FTX also does not
      onboard any users from Ontario, and FTX does not permit non-
      professional investors from Hong Kong purchasing certain
      products.
      FTX does not onboard or provide services to personal accounts
      of current residents of the United States of America, Cuba,
      Crimea and Sevastopol, Luhansk People’s Republic, Donetsk
      People’s Republic, Iran, Afghanistan, Syria, North Korea, or
      Antigua and Barbuda. There may be partial restrictions in other
      jurisdictions, potentially including Hong Kong, Thailand, Malaysia,
      India and Canada. In addition, FTX does not onboard any users from
      Ontario, does not permit non-professional investors from Hong
      Kong purchasing certain products, and does not offer derivatives
      products to users from Brazil. FTX serves all Japanese residents via
      FTX Japan.
      (emphasis in original)

Despite the fact I identified myself by name and address, the FTX Trading App
now shows that I am earning yield on the ETH. The yield is valued at 8 percent
APR.

Based upon my earning of yield and an ongoing investigation by the
Enforcement Division of the Texas State Securities Board, the yield program
appears to be an investment contract, evidence of indebtedness and note, and as
such appears to be regulated as a security in Texas as provided by Section
4001.068 of the Texas Securities Act. At all times material to the opening of this
FTX account, FTX Trading and FTX US have not been registered to offer or sell


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        securities in Texas. FTX Trading and FTX US may therefore be violating
        Section 4004.051 of the Texas Securities Act. Moreover, the yield program
        described herein has not been registered or permitted for sale in Texas as
        generally required by Section 4003.001 of the Securities Act, and as such FTX
        Trading and FTX US may be violation Section 4003.001 by offering
        unregistered or unpermitted securities for sale in Texas. Finally, FTX Trading
        and FTX US may not be fully disclosing all known material facts to clients prior
        to opening accounts and earning yield, thereby possibly engaging in fraud and/or
        making offers containing statements that are materially misleading or otherwise
        likely to deceive the public. Certain principals of FTX Trading and FTX US may
        also be violating these statutes and disclosure requirements. Further
        investigation is necessary to conclude whether FTX Trading, FTX US and others
        are violating the Securities Act through the acts and practices described in this
        declaration.

        The Enforcement Division of the Texas State Securities Board understands that
        FTX US placed the highest bid for assets of Voyager Digital LTD et al., a family
        of companies variously accused of misconduct in connection with the sale of
        securities similar to the yield program promoted by FTX Trading and FTX US.
        FTX US is managed by Sam Bankman-Fried (CEO and Founder), Gary Wang
        (CTO and Founder) and Nishad Singh (Head of Engineering). The same
        principals hold the same positions at FTX Trading, and I was able to access the
        yield-earning product after following a link to the FTX Trading App from FTX
        US’s website. The FTX Trading App also indicated the Earn program is
        provided by FTX US. As such, FTX US should not be permitted to purchase the
        assets of the debtor unless or until the Securities Commissioner has an
        opportunity to determine whether FTX US is complying with the law and related
        and/or affiliated companies, including companies commonly controlled by the
        same management, are complying with the law.

        I hereby authorize the Texas Attorney General’s Office and any of its
        representatives to use this declaration in this bankruptcy proceeding.

        I declare under penalty of perjury that the foregoing is true and correct.

        Executed on October 14, 2022 in Austin, Texas.
                                                      /s Joseph Jason Rotunda
                                                      By: Joseph Jason Rotunda

 VII. FTT Token

       117.   The FTT token that contributed to FTX’s demise is also an investment contract per

the Howey Test. FTT is an exchange token created by FTX that entitles holders to benefits on the


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FTX exchange. According to crypto news site CoinDesk, “such benefits often include trading fee

discounts, rebates and early access to token sales held on the platform.”74 Exchange tokens can be

very profitable for their issuers because the exchanges that issue them tend to keep a significant

number of tokens for themselves, which they can pump in price through speeches, social media

posts, and other announcements. Economically, exchange tokes are akin to equity, although the

holders of exchange tokens have no legal rights or interests in the issuer. As the exchange issuer

grows in size and prominence, and trading volume increases on the exchange, the value of the

exchange token will likely increase. Thus, the value of FTT increased as the FTX exchange became

more well-known and utilized.75

         118.    FTT meets the Howey Test because the token was controlled by FTX; the company

could create or destroy FTT at will. And the value of FTT was based upon the success of FTX,

therefore the “efforts” of others prong of the Howey Test is met. It is also clear that investors

bought FTT because they thought it would go up in price; this is the same reason why most, if not

all, investors buy any given cryptocurrency. In fact, Binance CEO Changpeng “CZ” Zhao agreed

to accept FTT tokens as part of FTX’s buyout of Binance’s equity stake in FTX.76 Exchange tokens

like FTT also functionally resemble the XRP token, which the SEC alleges is an investment

contract due to Ripple’s control over the XRP token.77




74
     https://www.coindesk.com/learn/what-is-an-exchange-token/ (accessed July 21, 2023).
75
  See FTT price history here: https://coinmarketcap.com/currencies/ftx-token/ (accessed July 21,
2023).
76
       https://www.investors.com/news/binance-to-buy-ftx-international-operations-as-liquidity-
crunch-sparks-crypto-selloff/ (accessed July 21, 2023).
77
     https://www.sec.gov/news/press-release/2020-338 (accessed July 21, 2023).

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VIII. The FTX Platform

       119.    Another avenue through which FTX users were exposed to a securities transaction

was through the basic structure of the platform. Despite cryptocurrency and blockchain’s

foundational premise being the ability to transmit value peer-to-peer using a trustless and

decentralized database that cannot be censured by any third party, cryptocurrency exchanges

operate more like traditional banks. When you buy Bitcoin through a centralized cryptocurrency

exchange, there is no corresponding transaction to the Bitcoin blockchain. Rather, the exchange

simply maintains its own database that indicates which cryptocurrencies it owes to its customers.

This is similar to how banks operate. Money deposited in a checking account is not actually “ours.”

The money becomes the bank’s and we are owed a debt by the bank which is governed by the

terms and conditions of the account. Cryptocurrency exchanges should then be in custody of

enough cryptocurrency on the blockchain to cover what it owes customers. Custody can be done

using hot or cold digital wallets (hot wallets are connected to the internet, cold wallets are not)

with best practice being for exchanges to hold the majority of cryptocurrency (crypto which they

are holding on behalf of customers) in multiple cold wallets. Best practice would also dictate that

exchanges hold customer assets in separate wallets from exchange assets, and that each customer’s

assets would be held in a distinct wallet.

       120.     FTX kept its crypto in a common pool used to fund undisclosed and unreasonably

risky investments.

       The FTX Group did not keep appropriate books and records, or security controls,
       with respect to its digital assets. Mr. Bankman-Fried and [Alameda co-founder
       Gary] Wang controlled access to digital assets of the main businesses in the FTX
       Group (with the exception of LedgerX, regulated by the CFTC, and certain other
       regulated and/or licensed subsidiaries). Unacceptable management practices
       included the use of an unsecured group email account as the root user to access
       confidential private keys and critically sensitive data for the FTX Group companies
       around the world, the absence of daily reconciliation of positions on the blockchain,
       the use of software to conceal the misuse of customer funds, the secret exemption
       of Alameda from certain aspects of FTX.com’s auto-liquidation protocol, and the

                                                48
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           absence of independent governance as between Alameda (owned 90% by Mr.
           Bankman-Fried and 10% by Mr. Wang) and the Dotcom Silo (in which third parties
           had invested).

           The Debtors have located and secured only a fraction of the digital assets of the
           FTX Group that they hope to recover in these Chapter 11 Cases. The Debtors have
           secured in new cold wallets approximately $740 million of cryptocurrency that the
           Debtors believe is attributable to either the WRS, Alameda and/or Dotcom Silos.
           The Debtors have not yet been able to determine how much of this cryptocurrency
           is allocable to each Silo, or even if such an allocation can be determined. These
           balances exclude cryptocurrency not currently under the Debtors’ control as a result
           of (a) at least $372 million of unauthorized transfers initiated on the Petition Date,
           during which time the Debtors immediately began moving cryptocurrency into cold
           storage to mitigate the risk to the remaining cryptocurrency that was accessible at
           the time, (b) the dilutive ‘minting’ of approximately $300 million in FTT tokens by
           an unauthorized source after the Petition Date and (c) the failure of the co-founders
           and potentially others to identify additional wallets believed to contain Debtor
           assets.78

           121.   In the declaration, Mr. Ray presents several rough balance sheets for the various

FTX silos, while noting that he does not have confidence in them, and that “the information therein

may not be correct as of the date stated.”79 Most telling is a footnote that appears on the balance

sheets for the exchange businesses: “Customer custodial fund assets are comprised of fiat customer

deposit balances. Balances of customer crypto assets deposited are not presented.”80 Ray notes that

U.S. and overseas exchanges “may have significant liabilities” but that “such liabilities are not

reflected in the financial statements prepared while these companies were under the control of Mr.

Bankman-Fried.”81

           122.   To further complicate matters, recent statements given by Sam Bankman-Fried to

the Wall Street Journal (WSJ) suggest that about half of the balance owed by Alameda to FTX

was from wire transfers that customers made to FTX via Alameda in the early days before FTX


78
     042020648197.pdf (pacer-documents.s3.amazonaws.com) (accessed July 21, 2023).
79
     Id.
80
     Id.
81
     Id.

                                                    49
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had a bank account.82 This money was intended to fund customers’ accounts at FTX. Bankman-

Fried claims some customers continued to use that route after FTX had a bank account and that

over time, “FTX customers deposited more than $5 billion in those Alameda accounts.”83 The WSJ

acknowledged that these funds “could have been recorded in two places—both as FTX customer

funds and as part of Alameda’s trading positions” and that “such double-counting would have

created a huge hole in FTX’s and Alameda’s balance sheets, with assets that weren’t really

there.”84

           123.   The relationship between FTX and Alameda was critical to the exchange’s eventual

collapse. After suffering large losses in the wake of several high profile crypto-firm failures in the

spring and summer of 2022 (Alameda most likely was exposed to crypto hedge fund Three Arrows

Capital), FTX.com lent out some of its customer assets that it did control to Alameda.85

Presumably, the exchange benefitted from the interest paid by Alameda for the loaned cryptoassets

– although some have suggested that the loans were made for free. 86 Alameda could then use the

customer assets as cheap collateral for margined trades with other parties (obtaining collateral from

other sources would have been much more expensive).87 It appears that Alameda did post collateral



82
          https://www.wsj.com/articles/ftx-founder-sam-bankman-fried-says-he-cant-account-for-
billions-sent-to-alameda-
11670107659?st=g35ia0eu0bjwqzn&reflink=desktopwebshare_permalink (accessed July 21,
2023).
83
     FTX customers deposited more than $5 billion in those Alameda accounts.
84
     Id.
85
   https://newsletter.mollywhite.net/p/the-ftx-collapse-the-latest-revelations (accessed July 21,
2023).
86
  https://www.cnbc.com/2022/11/13/sam-bankman-frieds-alameda-quietly-used-ftx-customer-
funds-without-raising-alarm-bells-say-sources.html (accessed July 21, 2023).
87
   For a more general discussion of the conflicts of interest inherent in these relationships, see
https://www.coppolacomment.com/2022/11/the-ftx-alameda-nexus.html (accessed July 21,
2023).

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to secure the loans of customer crypto assets that it received, but that collateral took the form of

FTT tokens. FTT tokens were the so-called “native token” of the FTX exchange: FTX created FTT

and issued it to both institutional and retail investors without registering with any regulator or

undergoing any audit or other external due diligence. FTX could create unlimited amounts of FTT

if it wished.

        124.    In short, there appear to have been two sets of leveraged transactions involved.

First, Alameda borrowed assets from FTX’s customers, providing FTT tokens as collateral for

those loans. Second, Alameda engaged in margin trading, essentially borrowing money to execute

risky trading strategies: these trades were secured by the assets Alameda had borrowed from FTX

customers’ accounts. Leverage makes trades potentially more lucrative, but also makes them more

vulnerable to adverse market movements. In an Alameda balance sheet linked to CoinDesk in early

November, Alameda’s largest asset holdings were listed as being FTT tokens (it is possible that it

received these in a kind of bailout from FTX). Other assets listed on that balance sheet included

SOL tokens (issued by the Solana blockchain, in which Sam Bankman-Fried was an early investor)

and SRM tokens (issued by the Serum exchange that Sam Bankman-Fried co-founded).88 Alameda

had few assets that hadn’t been created out of thin air by FTX or FTX-related entities.

        125.    After the CoinDesk report came out on November 2, 2022, the CEO of FTX’s rival

exchange Binance, Changpeng Zhao, tweeted that Binance was planning to sell off its holdings of

FTT. This triggered panic selling of FTT and a run on FTX, thereby ensuring the firm’s swift

demise.




88
 https://www.coindesk.com/business/2022/11/02/divisions-in-sam-bankman-frieds-crypto-
empire-blur-on-his-trading-titan-alamedas-balance-sheet/ (accessed July 21, 2023).

                                                51
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        126.       While we are still learning exactly what happened at FTX and Alameda in the days

and months before their collapse, we do know several pieces of information that are relevant to

this litigation.

        127.       First, it is quite possible that fiat currency FTX customers sent to the exchange for

the purpose of purchasing cryptocurrency may never have actually resulted in a cryptocurrency

transaction. Instead, Alameda may have used those funds to purchase any number of assets,

including investing in venture capital firms (Alameda’s balance sheet in John Ray’s first day

declaration list venture capital assets).

        128.       Second, when customers withdrew cryptoassets from FTX in the past, FTX was

likely meeting these withdrawals by selling FTT. However, as the price of FTT fell in the wake of

Zhao’s tweet, it became increasingly expensive for FTX to convert FTT into other cryptoassets

that matched customers’ expectations of their portfolio holding – especially as so many FTX

customers were seeking to pull their crypto assets out of the exchange at the same time. Therefore,

while customers may have believed they were buying cryptocurrencies that were not securities

(i.e., commodities) the economic reality was that they were directly, or indirectly, buying securities

in the form of venture capital investments, FTT, SOL, and/or SRM. Another way to think of it is

that FTX and all its affiliated entities were essentially economically akin to a venture capital fund,

where “investors,” in the form of customers, sent funds to the firm and the firm then did whatever

it wanted with these funds, including purchasing securities. Given these facts, it appears that any

person who used FTX was engaged in a securities transaction of some kind, knowingly or

unknowingly.

        129.       Thus, as will be illustrated below, the FTX Brand Ambassadors’ promotion of

“FTX” was necessarily the promotion of unregistered securities.




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     IX. The Defendant Aggressively Marketed the FTX Platform

         130.   From its inception, cryptocurrency has been fueled by illicit activity and the crypto

sector continues to be rife with crime, frauds and scams.”89 Everyday consumers have also fallen

victim to various cryptocurrency-related scams.90

         131.   There is also a long history of consumer losses associated with centralized

exchanges, FTX being the latest.

         132.   All the above-mentioned problems with cryptocurrency are well known and one of

the big reasons why consumers are hesitant to purchase or use cryptocurrency. According to Pew

Research, 16% of Americans have invested in cryptocurrency while another 71% are not invested

although they have heard at least a little about cryptocurrency.91 For those in the latter group,

concerns around fraud and scams are likely playing a role in their resistance to crypto investing.

         133.   Crypto firms like FTX turned to celebrity and social media endorsers to position

itself as the “safe” option among cryptocurrency exchanges. The FTX advertising campaign is

particularly pernicious because it implicitly acknowledges cryptocurrency’s problems while

holding FTX out as the “safe” place to invest in cryptocurrency, which were proven untrue, as

FTX turned out to be a house of cards that misappropriated customer assets.



89
  https://www.justice.gov/opa/pr/justice-department-announces-report-digital-assets-and-
launches-nationwide-network (accessed July 21, 2023). Virtual Currencies: Additional
Information Could Improve Federal Agency Efforts to Counter Human and Drug Trafficking
[Reissued with Revisions Feb. 7, 2022] | U.S. GAO (accessed July 21, 2023)’ Russia Could Use
Cryptocurrency to Mitigate U.S. Sanctions - The New York Times (nytimes.com) (accessed July
21, 2023), Iran Plans Uses Crypto for Imports to Get Around Sanctions (gizmodo.com) (accessed
July 21, 2023), This is how North Korea uses cutting-edge crypto money laundering to steal
millions | MIT Technology Review(accessed July 21, 2023).
90
  See Justice Department Announces Report on Digital Assets and Launches Nationwide Network
| OPA | Department of Justice (accessed July 21, 2023); Crypto-Assets: Implications for
Consumers, Investors, and Businesses (treasury.gov) (accessed July 21, 2023).
91
   46% of cryptocurrency investors in US say it did worse than expected | Pew Research Center
(last accessed July 21, 2023).

                                                 53
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       134.    FTX’s paid endorser program was clearly designed to use the positive reputation

associated with specific YouTube and other social network influencers to convince consumers that

FTX was a safe place to buy and sell cryptocurrency. As Mr. Sibenik explains, FTX’s brand

ambassadors had a critical role in portraying FTX as being ‘safe’ and ‘compliant.’ Ex. B ¶ 44–49.

       135.    FTX not only deployed such well-known celebrities such as Stephen Curry, Kevin

O’Leary as brand ambassadors, id., but it also engaged in aggressive global digital marketing,

particularly through influencer “crypto marketing” on YouTube and other social networks.

       136.    “Crypto marketing” is the execution of marketing and advertising efforts with the

goal of raising awareness, acquiring users, or driving growth for a cryptocurrency or blockchain-

related product. Popular crypto marketing strategies include influencer marketing, community

growth, social media management, and grassroots digital marketing, and tout great results and

valuable case studies, specifically with promoting cryptocurrency.92

       137.    Social media “influencers” are individuals who have amassed a large following on

platforms such as Instagram, YouTube, and TikTok, and use their influence to promote products,

services, and ideas. Social media influencers are characterized by a huge number of highly loyal

and engaged social media followers, who share a rapport with their fans and are perceived as

everyday people who are experts in their niches.

       138.    Unlike mainstream celebrities, influencers don’t shroud their lives in an air of

mystery and present themselves as real-life consumers who share authentic and valuable

information with their followers.93 They create content that resonates with their followers, often

by sharing their personal experiences, lifestyle choices, and preferences. By doing so, they


92
  Ultimate Cryptocurrency Marketing Strategy Guide for 2022 | Coinbound (last accessed July
21, 2023).
93
  The Rise of Influencer Marketing: All You Need to Know | Shane Barker (last accessed July 21,
2023).

                                               54
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establish a sense of authenticity and relatability with their audience, which can be incredibly

compelling.

        139.    Influencer marketing thus involves collaborating with a social media influencer to

increase brand visibility and strengthen a brand’s reputation. When executed correctly, it helps

win more customers from target audiences and earn more revenue. What differentiates influencer

marketing from other types of celebrity marketing is that it is perceived as more authentic and

trustworthy, because, owing to an influencer’s rapport with their fans, their recommendations

aren’t dismissed as fake and sponsored endorsements. Id. Instead, their followers often swear by

the recommendations made by their favorite influencer. Id. Because their audience trusts them,

they are more likely to take their recommendations, which can lead to increased sales for the

products they promote.

        140.    While influencer digital marketing is more expensive than other types of paid

media, studies done on the subject show that the majority of marketing teams have found the return

of investment (“ROI”) on influencer marketing to be higher than that of other forms of online

growth tactics.94 According to a recent study, influencer marketing delivers an ROI of $6.5 for

every $1 spent. This is far higher than the ROI of other forms of digital marketing.95 Digital content

creators also can more precisely target their marketing efforts by using highly sophisticated

analytic tools such as Google Analytics to measure their site’s traffic, where its coming from, and

who is visiting their sites.96


94
   Everything You Need to Know About Crypto Influencer Marketing (coinbound.io) (last
accessed July 21, 2023).
95
  Id; The Rise of Influencer Marketing: All You Need to Know | Shane Barker (last accessed July
21, 2023).
96
  Ultimate Cryptocurrency Marketing Strategy Guide for 2022 | Coinbound (last accessed July
21, 2023).



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           141.   As such, digital marketing through social media is extremely effective at

influencing consumer decisions. According to a survey from the National Association of

Professional Financial Advisors (NAPFA), more than one-quarter of Gen Zers learn about finance

from social media. The survey results also show that more than one-third (39%) of Americans

under 65 receive their financial advice from social media.97 When it comes to where they are

getting financial advice, YouTube is one the most popular platforms for Gen Z (63%) and

Millenials (71%) to discuss financial planning and investment in cryptocurrency.98 More than 60%

of the respondents who received their information online say they have acted on that advice.99

           142.   YouTube, which allows for long-form video content which can exist in perpetuity,

is one of the most effective social media channels for targeting cryptocurrency audiences and has

found its way into the daily routine of millions of cryptocurrency enthusiasts worldwide.100

           143.   Many of the most famous finance and money social media influencers collaborated

with FTX, working under the umbrella of Creators Agency, a talent management firm for digital

creators. Creators Agency touts its expansive reach, claiming to have reached “millions,” including

2.94B+ YouTube views and 27M+ YouTube Subscribers. Though not all Creators Agency clients




97
     https://www.napfa.org/social-media-survey (last accessed July 21, 2023).
;                                                               http://s3.napfa.cql-
aws.com.s3.amazonaws.com/files/Consumer/NAPFA%20Fall%202021%20Full%20Report.pdf
98
   https://www.thebalancemoney.com/8-personal-finance-influencers-you-should-know-6544780
(last accessed July 21, 2023).
; https://www.napfa.org/social-media-survey (last accessed July 21, 2023).

99
     Id.
100
   Everything You Need to Know About Crypto Influencer Marketing (coinbound.io) (last
accessed July 21, 2023).

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endorsed FTX, many of the talent it manages netted hundreds of thousands, if not millions of

dollars from signed contracts procured and/or facilitated by the agency.

            144.   Endorsements by the Defendant are even more dangerous, because of his broad

public reach. People are more likely to watch YouTube than network television. Micro-celebrities

and social media influencers thus can have outsized influence on their audience, particularly those

that espouse financial advice. FTX capitalized on this dynamic, and sponsored several of those

content creators, particularly on YouTube.

            145.   Other organizations and individuals, with presumably more to gain, did find red

flags at FTX and turned down FTX and/or Sam Bankman-Fried’s money. The nonprofits Our

World Data and MITRE declined offered gifts of $7.5 million and $485,000, respectively, from

the FTX Future Fund due to undisclosed red flags.101 In addition, CME Group CEO Terry Duffy

allegedly told SBF that he was “an absolute fraud” upon having an initial conversation with him.102

Finally, after FTX’s implosion, the Financial Times reported that FTX held talks with Taylor Swift

to sponsor the singer’s tour for more than $100 million.103 While the article does not detail the

reasons why Swift declined the FTX offer, it does include the following quote from a person close

to the negotiations:

                   Taylor would not, and did not, agree to an endorsement deal. The
                   discussion was around a potential tour sponsorship that did not
                   happen.104




101
    https://www.moneyweb.co.za/moneyweb-crypto/sam-bankman-frieds-red-flags-were-seen-in-
all-corners-of-his-empire/ (accessed July 21, 2023).
102
        https://www.cnbc.com/2022/11/23/absolute-fraud-cmes-terry-duffy-says-he-saw-trouble-
before-ftx-collapse-.html (accessed July 21, 2023).
103
   FTX held talks with Taylor Swift over $100mn sponsorship deal | Financial Times (accessed
July 21, 2023).
104
      Id.

                                                  57
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       146.    Based upon the information that has been released by FTX’s new CEO, John Ray,

as part of the company’s bankruptcy filings, anyone who bothered to spend 20 minutes reviewing

FTX’s operations pre-collapse would have identified significant red flags. In his first day pleading

in support of FTX’s chapter 11 petitions, Mr. Ray noted:

               Never in my career have I seen such a complete failure of corporate
               controls and such a complete absence of trustworthy financial
               information as occurred here. From compromised systems integrity
               and faulty regulatory oversight abroad, to the concentration of
               control in the hands of a very small group of inexperienced,
               unsophisticated and potentially compromised individuals, this
               situation is unprecedented.105

       147.    Mr. Ray’s pleading contains a number of troubling findings, among them: 1) FTX

did not have centralized control of its cash, 2) FTX had no dedicated human resources department,

which has hindered Mr. Ray’s team from preparing a complete list of who worked for the FTX

Entities, 3) A lack of disbursement controls that resulted in employees submitting payment

requests via on-line chat and these requests being approved by managers responding with

personalized emojis, 4) Corporate funds were used to purchase homes and personal items for

employees, and 5) A lack of books and records and the absence of lasting records of decision-

making.

       148.    It is hard to imagine that anyone who has done business with FTX, including paid

endorsers, would not have personally witnessed one or more of the deficiencies identified by Mr.

Ray. All FTX endorsers have extensive business dealings beyond FTX and surely would be able

to identify business practices that are unusually problematic.




105
  https://www.google.com/url?sa=t&rct=j&q=&esrc=s&source=web&cd=&ved=2ahUKEwiokr
3C                _-L7AhWsnGoFHRdBC2kQFnoECBAQAQ&url=https%3A%2F%2Fpacer-
documents.s3.amazonaws.com%2F33%2F188450%2F042020648197.pdf&usg=AOvVaw38wQ
JwnmP5fFftiyYkNjSG (accessed July 21, 2023).

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       149.    Instead, tens of thousands of customers relied on the testimonials of paid endorsers

such as the Defendant who knew why he was being compensated. Indeed, the whole point behind

paying influencers to endorse a product is to increase sales. Thus, influencers have a moral and

legal obligation to know that what they are promoting is unlikely to cause physical or financial

damage to customers.

       150.    In addition to the conduct of SBF, as described in this Complaint, some of the

biggest names in sports and entertainment have either invested in FTX and/or been paid to serve

as brand ambassadors for the company. Several of them hyped FTX to their social media fans,

driving retail consumer adoption of the FTX Platform.

       151.    In April 2021, FTX became the first company in the crypto industry to name an

arena. This helped lend credibility and recognition to the FTX brand and gave the massive fanbase

of basketball exposure to the FTX Platform.

       152.    FTX’s explanation for using social media influencers – micro-celebrities in their

own right – and stars like Tom Brady and supermodel Gisele Bunchden was no secret: “We’re the

newcomers to the scene,” said then-FTX.US President Brett Harrison, referring to the crypto

services landscape in the U.S. “The company needs to familiarize consumers with its technology,

customer service and offerings, while competing with incumbents like Coinbase Global Inc. or

Kraken,” Mr. Harrison said. “We know that we had to embark on some kind of mass branding,

advertising, sponsorship type work in order to be able to do that,” he said.106

In other words, the FTX Entities needed influencers like the Defendant to continue funneling

investors into the FTX Ponzi scheme, and to promote and substantially assist in the sale of the

YBAs, which are unregistered securities.


106
            https://www.wsj.com/articles/tom-brady-and-gisele-bundchen-to-star-in-20-million-
campaign-for-crypto-exchange-11631116800?mod=article_inline (accessed July 21, 2023).

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                                CLASS ACTION ALLEGATIONS

         153.   As detailed below in the individual counts, Plaintiff brings this lawsuit on behalf of

himself and all others similarly situated, pursuant to Rule 23(a), (b)(2), (b)(3), and/or (c)(4) of the

Federal Rules of Civil Procedure.

    I. Class Definitions

         154.   Plaintiffs seek to represent the following Global Class, Nationwide Class, and

Florida Subclass (collectively, the “Classes”):

                (1) Global Class: All persons and entities residing outside of the

                   United States who, within the applicable limitations period,

                   purchased or enrolled in a YBA.

                (2) Nationwide Class: All persons or entities in the United States

                   who, within the applicable limitations period, purchased or

                   enrolled in a YBA.

                (3) Florida Subclass: All persons or entities in the state of Florida

                   who, within the applicable limitations period, purchased or

                   enrolled in a YBA.

Excluded from the Classes are the Defendant, the FTX Entities and their officers, directors,

affiliates, legal representatives, and employees, any governmental entities, any judge, justice, or

judicial officer presiding over this matter and the members of their immediate families and judicial

staff.

         155.   Plaintiffs reserve the right to modify or amend the definition of the proposed

Classes, or to include additional classes or subclasses, before or after the Court determines whether

such certification is appropriate as discovery progresses. Plaintiffs seek certification of the Classes

in part because all offers of FTX YBAs to Plaintiffs and the Class Members (in which the


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Defendant substantially participated) were made by FTX from their principal place of business in

Miami, Florida, through its interactive website and mobile app which were accessible to Florida

residents and were actually used to effect commercial transactions with customers in Florida, thus

the sales of FTX YBAs stem from a transactional occurrence that emanated from the State of

Florida.

   II. Numerosity

       156.    The Classes are comprised of thousands, if not millions, of consumers globally, to

whom FTX offered and/or sold YBAs. Moreover, thousands, if not millions, of consumers

worldwide have executed trades on the FTX Platform within the applicable limitations period.

Membership in the Classes are thus so numerous that joinder of all members is impracticable. The

precise number of class members is currently unknown to Plaintiffs but is easily identifiable

through other means, such as through FTX’s corporate records or self-identification.

  III. Commonality/Predominance

       157.    This action involves common questions of law and fact, which predominate over

any questions affecting individual class members. These common legal and factual questions

include, but are not limited to, the following:

            (a) whether the YBAs were unregistered securities under federal or Florida law;

            (b) whether the Defendant’s participation and/or actions in FTX’s offerings and sales

               of YBAs violate the provisions of the Securities Act and Florida securities law.

            (c) the type and measure of damages suffered by Plaintiffs and the Class.

            (a) whether the Defendant’s practices violate the FDUTPA;

            (b) whether Plaintiffs and Class members have sustained monetary loss and the proper

               measure of that loss;

            (c) whether Plaintiffs and Class members are entitled to injunctive relief;


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           (d) whether Plaintiffs and Class members are entitled to declaratory relief; and

           (e) whether Plaintiffs and Class members are entitled to consequential damages,

               punitive damages, statutory damages, disgorgement, and/or other legal or equitable

               appropriate remedies as a result of the Defendant’s conduct.

  IV. Typicality

       158.    Plaintiffs’ claims are typical of the claims of the members of the Classes because

all members were injured through the uniform misconduct described above, namely that Plaintiffs

and all class members were offered and/or sold FTX’s YBAs because of the Defendant’s actions

and/or participation in the offering and sale of these unregistered securities, and Plaintiffs are

advancing the same claims and legal theories on behalf of themselves and all such members.

Further, there are no defenses available to the Defendant that are unique to Plaintiffs.

   V. Adequacy of Representation

       159.    Plaintiffs will fairly and adequately protect the interests of the members of the

Class. Plaintiffs have retained counsel experienced in complex consumer class action litigation,

and Plaintiffs intend to prosecute this action vigorously. Plaintiffs have no adverse or antagonistic

interests to those of the Classes. Plaintiffs anticipate no difficulty in the management of this

litigation as a class action. To prosecute this case, Plaintiffs have chosen the undersigned law firms,

which have the financial and legal resources to meet the substantial costs and legal issues

associated with this type of consumer class litigation.

  VI. Requirements of Fed. R. Civ. P. 23(b)(3)

       160.    The questions of law or fact common to Plaintiffs’ and each Class member’s claims

predominate over any questions of law or fact affecting only individual members of the Classes.

All claims by Plaintiffs and the unnamed members of the Classes are based on the common course

of conduct by the Defendant (1) in marketing, offering, and/or selling the YBAs, which are


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unregistered securities, and/or (2) in receiving secret undisclosed compensation for their

promotion of the FTX Platform.

       161.    Common issues predominate when, as here, liability can be determined on a class-

wide basis, even when there will be some individualized damages determinations.

       162.    As a result, when determining whether common questions predominate, courts

focus on the liability issue, and if the liability issue is common to the Classes as is in the case at

bar, common questions will be held to predominate over individual questions.

       A. Superiority

       163.    A class action is superior to individual actions for the proposed Classes, in part

because of the non-exhaustive factors listed below:

           (a) Joinder of all Class members would create extreme hardship and inconvenience for

               the affected customers as they reside nationwide and throughout the state;

           (b) Individual claims by Class members are impracticable because the costs to pursue

               individual claims exceed the value of what any one Class member has at stake. As

               a result, individual Class members have no interest in prosecuting and controlling

               separate actions;

           (c) There are no known individual Class members who are interested in individually

               controlling the prosecution of separate actions;

           (d) The interests of justice will be well served by resolving the common disputes of

               potential Class members in one forum;

           (e) Individual suits would not be cost effective or economically maintainable as

               individual actions; and

           (f) The action is manageable as a class action.




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 VII. Requirements of Fed. R. Civ. P. 23(b)(2)

       164.    The Defendant has acted and refused to act on grounds generally applicable to the

Classes by engaging in a common course of conduct of aiding and abetting the offering and/or

selling the YBAs, which are unregistered securities, thereby making appropriate final injunctive

relief or declaratory relief with respect to the classes as a whole.

       165.    The Defendant has acted and refused to act on grounds generally applicable to the

Classes by engaging in a common course of conduct of uniformly identical and uniform

misrepresentations and omissions in receiving secret undisclosed compensation for their

promotion of the FTX Platform, thereby making appropriate final injunctive relief or declaratory

relief with respect to the classes as a whole.

VIII. Requirements of Fed. R. Civ. P. 23(c)(4)

       166.    As it is clear that one of the predominant issues regarding the Defendant’s liability

is whether the YBAs FTX offered and/or sold are unregistered securities, utilizing Rule 23(c)(4)

to certify the Class for a class wide adjudication on this issue would materially advance the

disposition of the litigation as a whole.

       167.    As it is clear that another predominant issue regarding the Defendant’s liability is

whether he has violated the consumer protection and securities laws of Florida in making identical

and uniform misrepresentations and omissions regarding the functionality of the FTX Platform,

and/or in receiving secret undisclosed compensation for their promotion of the FTX Platform,

utilizing Rule 23(c)(4) to certify the Classes for a class wide adjudication on this issue would

materially advance the disposition of the litigation as a whole.

  IX. Nature of Notice to the Proposed Class.

       168.    The names and addresses of all Class Members are contained in the business

records maintained by FTX and are readily available to FTX. The Class Members are readily and


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objectively identifiable. Plaintiffs contemplate that notice will be provided to Class Members by

e-mail, mail, and published notice.

                                           COUNT ONE
                         Violations of the Florida Statute Section 517.07,
                        The Florida Securities and Investor Protection Act
                       (Plaintiffs Individually and on behalf of the Classes)

        169.    Plaintiffs repeat and re-allege the allegations contained in paragraphs 1–168 above,

as if fully set forth herein.

        170.    Section 517.07(1), Fla. Stat., provides that it is unlawful and a violation for any

person to sell or offer to sell a security within the State of Florida unless the security is exempt

under Fla. Stat. § 517.051, is sold in a transaction exempt under Fla. Stat. § 517.061, is a federally

covered security, or is registered pursuant to Ch. 517, Fla. Stat.

        171.    Section 517.211 extends liability to any “director, officer, partner, or agent of or

for the seller, if the director, officer, partner, or agent has personally participated or aided in making

the sale, is jointly and severally liable to the purchaser in an action for rescission, if the purchaser

still owns the security, or for damages, if the purchaser has sold the security.”

        172.    The YBA is a security pursuant to Fla. Stat. § 517.021(22)(a).

        173.    The YBAs sold and offered for sale to Plaintiff and Class members were not:

            a. exempt from registration under Fla. Stat. § 517.051;

            b. a federal covered security;

            c. registered with the Office of Financial Regulations (OFR); or

            d. sold in a transaction exempt under Fla. Stat. § 517.061.

        174.    The FTX Entities sold and offered to sell the unregistered YBAs to Plaintiffs and

the members of the Class.

        175.    The Defendant is an agent of the FTX Entities pursuant to Fla. Stat. § 517.211.



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        176.    The FTX Entities, with the Defendant’s material assistance, offered and sold the

unregistered YBAs to Plaintiffs and the members of the Class. As a result of this assistance, the

Defendant violated Fla. Stat. § 517.07 et seq. and Plaintiffs and members of the Class sustained

damages as herein described.

                                         COUNT TWO
           For Violations of the Florida Deceptive and Unfair Trade Practices Act,
                               § 501.201, Florida Statutes, et seq.
                    (Plaintiffs Individually and on behalf of the Classes)

        177.    Plaintiffs repeat and re-allege the allegations contained in paragraphs 1–168 above,

as if fully set forth herein.

        178.    This cause of action is brought pursuant to the Florida Deceptive and Unfair Trade

Practices Act, section 501.201, Fla. Stat., et seq. (“FDUTPA”). The stated purpose of the FDUTPA

is to “protect the consuming public . . . from those who engage in unfair methods of competition,

or unconscionable, deceptive, or unfair acts or practices in the conduct of any trade or commerce.”

§ 501.202(2), Fla. Stat.

        179.    Plaintiffs and Class members are consumers as defined by section 501.203, Fla.

Stat. The Defendant is engaged in trade or commerce within the meaning of the FDUTPA.

        180.    Florida Statute section 501.204(1) declares unlawful “[u]nfair methods of

competition, unconscionable acts or practices, and unfair or deceptive acts or practices in the

conduct of any trade or commerce.”

        181.    The Defendant’s unfair and deceptive practices as described herein were consumer-

oriented and are objectively materially likely to mislead – and have materially misled – consumers

acting reasonably in the circumstances.

        182.    The Defendant has violated the FDUTPA by engaging in the unfair and deceptive

practices as described herein, which offend public policies and are immoral, unethical,

unscrupulous and injurious to consumers.

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          183.   Plaintiffs and consumers in the Classes have been aggrieved by the Defendant’s

unfair and deceptive practices and acts of false advertising by paying into the Ponzi scheme that

was the FTX Platform and in the amount of their lost investments.

          184.   The harm suffered by Plaintiffs and consumers in the Classes was directly and

proximately caused by the deceptive and unfair practices of the Defendant, as more fully described

herein.

          185.   Pursuant to sections 501.211(2) and 501.2105, Fla. Stat., Plaintiffs and consumers

in the Classes make claims for actual damages, attorneys’ fees and costs.

          186.   The Defendant still utilizes many of the deceptive acts and practices described

above. Plaintiffs and the other members of the Classes have suffered and will continue to suffer

irreparable harm if the Defendant continues to engage in such deceptive, unfair, and unreasonable

practices. Section 501.211(1) entitles Plaintiffs and the Classes to obtain both declaratory or

injunctive relief to put an end to the Defendant’s unfair and deceptive scheme.

                                          COUNT THREE
                                          Civil Conspiracy
                       (Plaintiffs Individually and on behalf of the Classes)

          187.   Plaintiffs repeat and re-allege the allegations contained in paragraphs 1–168 above,

as if fully set forth herein.

          188.   The FTX Entities and the Defendant made numerous misrepresentations and

omissions to Plaintiffs and Class Members about the FTX Platform to induce confidence and to

drive consumers to invest in what was ultimately a Ponzi scheme, misleading customers with the

false impression that any cryptocurrency assets held on the FTX Platform were safe and were not

being invested in unregistered securities.




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        189.    The FTX Entities entered into one or more agreements with the Defendant with the

purpose of making these misrepresentations and/or omissions to induce Plaintiff and consumers to

invest in the YBAs and/or use the FTX Platform.

        190.    The Defendant engaged in unlawful acts with the FTX Entities, namely, the

misrepresentations and omissions made to Plaintiffs and the Classes and the sale of unregistered

securities.

        191.    The Defendant’s conspiracy substantially assisted or encouraged the wrongdoing

conducted by the FTX Entities; further, the Defendant had knowledge of such fraud and/or

wrongdoing, because of his experience and relationship with the FTX Entities, as described above

and as such, knew that the representations made to Plaintiffs were deceitful and fraudulent.

        192.    The Defendant’s conspiracy with the FTX Entities to commit fraud caused damages

to Plaintiffs and the Classes in the amount of their lost investments.

                                        COUNT FOUR
                                     Declaratory Judgment
                (Declaratory Judgment Act, Florida Statutes §§ 86.011 et seq.)
                     (Plaintiffs Individually and on behalf of the Classes)

        193.    Plaintiffs reallege and incorporate by reference the allegations contained in

paragraphs 1–168 as if fully set forth herein.

        194.    This Count is asserted against Defendant under Florida Statutes §§ 86.011, et seq.

        195.    There is a bona fide, actual, present and practical need for the declaratory relief

requested herein; the declaratory relief prayed for herein deal with a present, ascertained or

ascertainable state of facts and a present controversy as to a state of facts; contractual and statutory

duties and rights that are dependent upon the facts and the law applicable to the facts; the parties

have an actual, present, adverse and antagonistic interest in the subject matter; and the antagonistic

and adverse interests are all before the Court by proper process for final resolution.



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        196.       Plaintiffs and the members of the Classes have an obvious and significant interest

in this lawsuit.

        197.       Plaintiffs and members of the Classes purchased YBAs, based in part on justifiable

reliance on the Defendant’s misrepresentations and omissions regarding the FTX Platform as

further described hereinabove.

        198.       If the true facts had been known, including but not limited to that the YBAs are

unregistered securities, the FTX Platform does not work as represented, and the Defendant was

paid exorbitant sums of money to peddle FTX to the nation, Plaintiffs and the Classes would not

have purchased YBAs in the first place.

        199.       Thus, there is a justiciable controversy over whether the YBAs were sold illegally,

and whether the Defendant illegally solicited their purchases from Plaintiffs and the Class.

        200.       Plaintiffs and the Class seek an order declaring that the YBAs were securities that

the FTX Platform did not work as represented, and Defendant was paid exorbitant sums of money

to peddle FTX to the nation.


                                        PRAYER FOR RELIEF

WHEREFORE, Plaintiffs pray for a judgment on behalf of themselves and the Classes:

        a.         Certifying the Class as requested herein;

        b.         Awarding actual, direct and compensatory damages;

        c.         Awarding restitution and disgorgement of revenues if warranted;

        d.         Awarding declaratory relief as permitted by law or equity, including declaring the

                   Defendant’s practices as set forth herein to be unlawful;

        e.         Awarding injunctive relief as permitted by law or equity, including enjoining the

                   Defendant from continuing those unlawful practices as set forth herein, and

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       directing the Defendant to identify, with Court supervision, victims of his

       conduct and pay them all money he is required to pay;

f.     Awarding statutory and multiple damages, as appropriate;

g.     Awarding attorneys’ fees and costs; and

h.     Providing such further relief as may be just and proper.


                           DEMAND FOR JURY TRIAL

Plaintiffs hereby demand a jury trial as to all claims so triable.



Dated: July 21, 2023                 Respectfully submitted,

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    Exhibit A
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                              UNITED STATES JUDICIAL PANEL
                                           on
                               MULTIDISTRICT LITIGATION


IN RE: FTX CRYPTOCURRENCY EXCHANGE
COLLAPSE LITIGATION                                                                    MDL No. 3076


                                       TRANSFER ORDER


        Before the Panel: ∗ This litigation arises out of the collapse of the FTX cryptocurrency
exchange in November 2022 and the subsequent bankruptcy of FTX Trading Ltd. and its
U.S. affiliate FTX US (together, FTX). Plaintiffs are FTX customers and investors seeking to
recover their losses. Defendants are individuals and entities that allegedly facilitated FTX’s
wrongful conduct. This litigation currently consists of eight actions pending in two districts, as
listed on Schedule A. Since the filing of the motion, the Panel has been notified of eleven related
actions in the Northern District of California, Southern District of Florida, District of New Jersey,
and Southern District of New York. 1 Plaintiffs in the consolidated Garrison and Podalsky actions
move under 28 U.S.C. § 1407 to centralize this litigation in the Southern District of Florida.

        Responding plaintiffs’ positions on centralization vary. Plaintiffs in three actions support
centralization in the Southern District of Florida, and plaintiff in one action supports centralization
in the Northern District of California. Plaintiffs in eleven actions oppose centralization or request
exclusion of their actions from any MDL. In particular, plaintiffs in two potential tag-along actions
(Rabbitte and Gershovich) which bring claims solely against investment firms Sequoia Capital
Operations, LLC, Paradigm Operations LP, and Thoma Bravo, LP, request exclusion of their
actions. Plaintiff in a potential tag-along action against Signature Bank (Statistica Capital)
requests exclusion of that action. And plaintiffs in two potential tag-along actions request
exclusion of the Bhatia, Magleby, and Keane actions against the Silvergate Bank defendants. 2
Most of the opposing plaintiffs propose the Northern District of California if the actions are
centralized over their objections. Opposing plaintiff in one action (O’Keefe) proposes the Southern
District of Florida.




∗ One or more Panel members who could be members of the putative classes in this litigation have

renounced their participation in the classes and have participated in this decision.
1
 These and any other related actions are potential tag-along actions. See Panel Rules 1.1(h), 7.1
and 7.2.
2
    The Silvergate Bank defendants are Silvergate Bank, Silvergate Capital Corp., and Alan J. Lane.
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         Responding defendants’ positions on centralization also vary considerably. 3 Sequoia,
Paradigm, and Thoma Bravo support centralization and have no preference on the transferee
district. Prager Metis and Armanino support centralization in the Southern District of Florida. The
Celebrity Defendants oppose centralization. 4 The Silvergate Bank defendants oppose inclusion of
any claims against them, and the FDIC opposes inclusion of the Statistica Capital action against
Signature Bank.

        In opposition to centralization, the various plaintiffs and defendants primarily argue
that the actions lack sufficient common questions of fact and informal coordination provides a
practicable alternative. We find these arguments unpersuasive. The actions undoubtedly involve
several non-overlapping defendants and raise defendant-specific issues. But they all rest on the
same core set of facts concerning the alleged fraud that led to FTX’s collapse and, in particular,
revolve around the conduct of FTX’s Samuel Bankman-Fried, the relationship with another
Bankman-Fried company known as Alameda Research, and Alameda’s Caroline Ellison. Indeed,
Bankman-Fried and Ellison are defendants in seven of the eight actions on the motion, and are
central figures in all of the related actions before the Panel. Moreover, all actions on the motion
allege that there was a conspiracy between Bankman-Fried and other alleged FTX insiders to make
misrepresentations to consumers and investors to induce them to invest in FTX products and use
the FTX exchange. This common factual core warrants centralization despite the involvement of
a number of different defendants. See, e.g., In re January 2021 Short Squeeze Trading Litig.,
MDL No. 2989, 2021 WL 1258399 (J.P.M.L. 2021) (centralizing actions “nam[ing] more than
forty brokers, funds, and clearinghouses as defendants” where all actions involved common
conduct concerning the Robinhood trading platform). Transfer under Section 1407 does not
require a complete identity of common factual issues or parties as a prerequisite to transfer, and
the presence of additional facts or differing legal theories is not significant where, as here, the
actions still arise from a common factual core. See In re Auto Body Shop Antitrust Litig., 37 F.
Supp. 3d 1388, 1390-91 & n.5 (J.P.M.L. 2014).

        We further find that informal coordination is not an adequate alternative to centralization.
Although the actions in the Northern District of California are in the process of being organized
into three tracks, there are still seven distinct groups of non-overlapping plaintiffs’ counsel
pursuing claims in this litigation, including potential tag-along actions, on behalf of putative global
and nationwide classes. Additionally, dozens of defendants are involved, with little overlap in
their counsel. The large number of plaintiffs’ and defense counsel will pose serious obstacles to
informal coordination. Inefficiencies also will arise from having to coordinate these unusually
complex actions involving novel cryptocurrency issues with the related criminal case in the
Southern District of New York and the bankruptcy case in the District of Delaware. Moreover,
informal coordination does not address the possibility of inconsistent rulings on Daubert and class
certification issues.

3
  The responding defendants are Prager Metis CPAs, LLC; Armanino LLP; Sequoia Capital
Operations, LLC; Paradigm Operations LP; Thoma Bravo, LP; the Silvergate Bank defendants;
and seven “Celebrity Defendants” – the Golden State Warriors, Thomas Brady, Gisele Bündchen,
Lawrence David, Kevin O’Leary, David Ortiz, and William Trevor Lawrence. Additionally, the
Federal Deposit Insurance Corporation responded as receiver for Signature Bank.
4
    The Golden State Warriors alternatively request the Northern District of California.
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        Although the Signature Bank and Silvergate Bank defendants are named only in the
potential tag-along actions – not in the actions on the motion – we received extensive briefing and
oral argument on whether the MDL should include them. Both plaintiffs and defendants in those
actions oppose their inclusion in an MDL because Signature Bank was closed in March 2023 and
is in FDIC receivership, and Silvergate Bank is in voluntary liquidation. Additionally, at oral
argument, movants conceded that centralization of these claims is not warranted given the closure-
related issues unique to those entities. 5 Based on this record, we do not intend to include the claims
against Signature Bank and the Silvergate Bank defendants. 6

        On the basis of the papers filed and the hearing session held, we find that the actions on
Schedule A involve common questions of fact, and centralization will serve the convenience of
the parties and witnesses and promote the just and efficient conduct of this litigation. These actions
present common questions of fact concerning the collapse of the FTX cryptocurrency exchange in
November 2022, which allegedly was caused by the conduct of FTX former principals Sam
Bankman-Fried, Zixiao “Gary” Wang, and Nishad Singh, and financial improprieties with
Alameda Research. All actions allege that FTX executives fraudulently withheld or
misrepresented information with respect to customer assets on the FTX platform and that the
professional services firms and celebrity promoters who worked with FTX were complicit in or
otherwise bear responsibility for the alleged fraud – for example, by concealing FTX’s financial
problems or promoting FTX products with knowledge or willful blindness of the alleged fraud.
The common factual questions include: (1) whether FTX executives and their representatives
misled customers about FTX’s practices for safeguarding customer funds; (2) whether FTX
executives and their representatives misrepresented the financial condition of the FTX entities;
(3) whether FTX and Alameda executives embezzled customer assets; (4) the existence and scope
of a conspiracy; and (5) the nature of FTX products, such as Yield-Bearing Accounts and FTT
tokens. Centralization will eliminate duplicative discovery; prevent inconsistent pretrial rulings,
especially with respect to class certification and Daubert motions; and conserve the resources of
the parties, their counsel and the judiciary.

        The Southern District of Florida is an appropriate transferee district for this litigation.
A significant part of FTX’s conduct allegedly emanated from this district, where it had its
U.S. headquarters before filing for bankruptcy. This district also provides an easily accessible
location for this nationwide litigation. Judge K. Michael Moore, who presides over the actions on
the motion in this district, is an experienced transferee judge, and we are confident he will steer
this matter on a prudent and expeditious course.



5
 For example, plaintiffs in Statistica Capital v. Signature Bank are subject to an exhaustion of
administrative remedies requirement under the Financial Institutions Reform, Recovery and
Enforcement Act because of the FDIC receivership, and that action thus has been stayed.
6
 We intend to transfer the actions against Sequoia, Paradigm, and Thoma Bravo through the
conditional transfer order process, based on the common factual core discussed above. See Panel
Rule 7.1(b). Those actions do not present the same efficiency concerns as the actions involving
banks in closure-related proceedings.
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        IT IS THEREFORE ORDERED that the actions listed on Schedule A and pending outside
the Southern District of Florida are transferred to the Southern District of Florida and, with the
consent of that court, assigned to the Honorable K. Michael Moore for coordinated or consolidated
pretrial proceedings.


                                        PANEL ON MULTIDISTRICT LITIGATION



                                      _________________________________________
                                                   Karen K. Caldwell
                                                        Chair

                                     Nathaniel M. Gorton           Matthew F. Kennelly
                                     David C. Norton               Roger T. Benitez
                                     Dale A. Kimball               Madeline Cox Arleo
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IN RE: FTX CRYPTOCURRENCY EXCHANGE
COLLAPSE LITIGATION                                               MDL No. 3076


                                   SCHEDULE A


          Northern District of California

    LAM v. BANKMAN-FRIED, C.A. No. 3:22−07336
    PIERCE v. BANKMAN-FRIED, ET AL., C.A. No. 3:22−07444
    HAWKINS v. BANKMAN-FRIED, ET AL., C.A. No. 3:22−07620
    JESSUP v. BANKMAN-FRIED, ET AL., C.A. No. 3:22−07666
    PAPADAKIS v. BANKMAN-FRIED, ET AL., C.A. No. 3:23−00024

          Southern District of Florida

    GARRISON v. BANKMAN-FRIED, ET AL., C.A. No. 1:22−23753
    PODALSKY, ET AL. v. BANKMAN-FRIED, ET AL., C.A. No. 1:22−23983
    NORRIS, ET AL. v. BRADY, ET AL., C.A. No. 1:23−20439
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    Exhibit B
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    PRELIMINARY EXPERT REPORT
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               Matter: FTX Exchange

           Written By: Paul Sibenik

                 Date: 12.16.2022
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Introduction
  1. In accordance with instructions from Moskowitz Law Firm, PLLC, I have been
     instructed to prepare a preliminary expert report surrounding FTX Exchange,
  2. More specifically, I have been asked to provide a preliminary opinion on FTX ‘Earn’
     accounts, FTT Token, and FTX Exchange in general, as well as the risks that could
     affect consumers inherent in them. I have furthermore been asked to provide a
     technical opinion assessing if or how FTX Earn accounts meet the Howey Test.
  3. I am the Lead Case Manager at CipherBlade, a leading blockchain forensics and
     cybercrime investigative firm which consults with blockchain projects, numerous
     police, law enforcement and regulatory agencies around the world, including the US
     FBI and US Secret Service, cryptocurrency exchanges, and other organizations. Other
     CipherBlade staff and I have experience in some of the most high-profile
     cryptocurrency investigations to date in relation to a wide range of niches including
     but not limited to cases involving hacking, theft, SIM-Swapping, ransomware,
     different types of frauds and scams (e.g., involving ICOs, NFTs, investment fraud,
     Ponzi Schemes), ‘rugpulls,’ embezzlement, as well as civil matters such as divorce
     cases and bankruptcy cases. I am recognized as one of the few experts in blockchain
     forensics and cryptocurrency cybercrime investigation. This work regularly requires
     the analysis of cryptocurrency transactions, wallets and addresses, alongside gathering
     and analyzing other data sources.
  4. I regularly use blockchain forensics software to assist me in blockchain investigations.
     My usage of blockchain forensics software in this matter, has, thus far been extremely
     minimal. However, I expect blockchain forensics to play a more important role in this
     matter as this case develops and disclosures are obtained. For reference, however, I
     primarily utilize Chainalysis Reactor, which is the leading blockchain forensics
     software available and is utilized by various law enforcement agencies around the
     world, including the FBI, USSS, DHS, and DEA in the United States. Chainalysis
     Reactor helps professionals to better understand the flow of funds on assets on
     supported blockchains. It helps to aggregate and manage large amounts of transaction
     data and addresses to make the data more parsable. It helps professionals like me to
     better understand which addresses are under the control of the same individuals or
     entities, and for addresses that are under the control of a service or exchange, it is
     often able to identify the name of that service or exchange. Furthermore, Chainalysis
     Reactor also provides Open-Source Intelligence (OSINT) on various cryptocurrency
     addresses, which can help investigators understand what those addresses may be


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       associated with or can provide additional context in situations. I have a Chainalysis
       Reactor Certification (CRC), which is a certification offered by Chainalysis to certify
       knowledge and understanding of their Reactor forensics tool. I also have the
       Chainalysis Investigation Specialist Certification (CISC), an additional certification by
       Chainalysis designed specifically for the most advanced Reactor users, which dives
       deep into advanced investigative techniques and obfuscation approaches sometimes
       used by individuals trying to launder ill-gotten cryptocurrency. I furthermore have the
       Chainalysis Ethereum Investigations Certification (CEIC), a certification program
       focused on Ethereum, as well as other EVM (Ethereum virtual machine)-compatible
       cryptocurrencies.
  5.   Additionally, a large portion of my work involves consulting with blockchain
       companies in various capacities pertaining to preventative measures they can or should
       take to reduce risks and mitigate the amount of cybercrime that their company is
       exposed to. This involves consulting on security practices, including those pertaining
       to cryptocurrency storage and management. This also involves consulting on matters
       of compliance so as to significantly mitigate the likelihood and/or frequency of ill-
       gotten funds being laundered through their service and reduce the amount of various
       types of fraud, including investment scams, romance scams, impersonation scams, and
       money muling.
  6.   A copy of my CV is attached in Appendix A.
  7.   This is a preliminary report and is subject to change. I reserve the right to amend the
       views expressed in this report should or when additional information be uncovered or
       presented to me.
  8.    Prior to accepting instructions to act in this matter, I made reasonable inquiries to
       identify any actual or potential conflicts of interest in connection with the parties
       concerned. No matters arose.

A Primer on Cryptocurrency Exchanges
  9. Before delving into the issues at hand, I think it’s first pertinent to provide some
      background information on what cryptocurrency exchanges are, what purpose they
      serve, and how they operate, in relation to the matter at hand.
  10. In many ways, centralized cryptocurrency exchanges, including FTX, are analogous to
      banks albeit for the cryptocurrency industry.
  11. More specifically, cryptocurrency exchanges accept deposits of cryptocurrency, and
      often fiat currency on behalf of their customers. Once that cryptocurrency is received
      by the exchange then it has dominion and control over those assets.

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12. The exchange then credits the applicable customer account with the appropriate
    amount of cryptocurrency or fiat assets the exchange received. This credit can be
    regarded as a liability or IOU of the exchange to its customer.
13. If, for example, cryptocurrency was deposited to the customer’s exchange account, the
    customer could then take that credit received from the exchange, and:
         a) Trade it for another cryptocurrency
         b) Trade it for fiat currency
         c) Leave it as a balance on the exchange account (leaving an open liability of the
             exchange to the customer)
         d) Withdraw it (withdrawal could be done prior to or after a trade or conversion)

    These things could be done in whole or in part. Ledger entries would (and should) be
    made internally by the exchange to account for changes in positions and applicable
    balances.
14. The exchange accounts should very much be regarded as being custodial in nature.
    This means that the customer does not control access to the assets ‘in’ their account.
    The customer needs to make a request to the exchange to be able to access and send
    those balances. The exchange then debits the user account and sends the assets.
    Whether or not such requests are processed are dependent on the willingness, ability,
    and approval of the exchange.
15. One major factor the affects the exchange’s ability to process such requests is whether
    or not they have the assets and/or capital necessary to do so.
16. For any non-yield-bearing account, this shouldn’t be a problem, since exchanges
    should have enough assets in custody for the benefit of their customers to cover their
    liabilities to their customers, and on a 1:1 basis. FTX’s terms of service seems to
    guarantee this, although FTX clearly violated their own terms of service:

           “Title to your Digital Assets shall at all times remain with you and shall not
           transfer to FTX Trading. As the owner of Digital Assets in your Account,
           you shall bear all risk of loss of such Digital Assets. FTX Trading shall
           have no liability for fluctuations in the fiat currency value of Digital Assets
           held in your Account.”

           “None of the Digital Assets in your Account are the property of, or shall or
           may be loaned to, FTX Trading; FTX Trading does not represent or treat
           Digital Assets in User’s Accounts as belonging to FTX Trading.”



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                   “You control the Digital Assets held in your Account. At any time, subject
                   to outages, downtime, and other applicable policies (including the
                   Terms), you may withdraw your Digital Assets by sending them to a
                   different blockchain address controlled by you or a third party.” 1

      17. While FTX violated their own terms of service, it’s would also have been true that
          some of these claims would have been demonstrably false to begin even if there was
          hypothetically no wrongdoing on the part of FTX. This is because FTX exchange
          accounts (or any exchange account with any centralized custodial exchange, including
          Coinbase for example) are custodial in nature. This means that the customer does not
          control access to the assets ‘in’ their account. The customer needs to make a request to
          the exchange to be able to access and send those balances. It is very much the
          exchange that controls the assets, not their customer. However, it should also be noted
          that the digital assets aren’t technically ‘in’ the account at all. At a technical level, an
          exchange account cannot hold or store cryptocurrency. The account stores a record of
          a liability or an IOU to the exchange’s customer. When a user purchases
          cryptocurrency on an exchange, they aren’t technically purchasing that
          cryptocurrency; they are purchasing an IOU for that cryptocurrency. Because this
          concept of buying and storage can be difficult to understand, it’s somewhat common
          for newcomers to associate such IOUs as being the same as storing cryptocurrency
          assets ‘on’ their account, even though it’s not technically true.
      18. With any yield-bearing account, it could generally be expected for an exchange to take
          those customers and leverage, loan or invest them in some way, and hopefully receive
          enough assets back to be able to pay out their customers back their principal, in
          addition to yield or interest earned, when applicable customers attempt to redeem or
          withdraw those funds.
      19. While the existence of such loans associated with assets deposited to yield-bearing
          accounts was known, the substantial risks associated with such loans, and by extension
          the yield-bearing accounts in general was not adequately represented, for reasons I
          will demonstrate later in this report.
      20. The main functional differences between banks and cryptocurrency exchanges is such
          that exchanges are largely unregulated, and that exchanges (and by extension
          exchange accounts and the users who use them) are subject to a lot of additional risks
          compared to that of a bank account.


1
    https://help.ftx.com/hc/article_attachments/9719619779348/FTX_Terms_of_Service.pdf

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21. Banks are, of course, subject to a variety of capital control requirements to ensure
    protection of consumer assets. Banks are regulated with regards to the type of assets
    that they can investment customer assets in. Banks are subject to regular financial
    audits. Banks have regulatory oversight to ensure the protection of consumer assets.
    And of course, bank accounts have FDIC insurance so that bank account holders have
    coverage in case a bank, despite such measures, becomes insolvent.
22. Exchanges on the other hand, are not subject to capital control requirements. While
    almost all exchanges will indicate that they ‘securely’ store all customer assets 1:1 in
    ‘cold storage,’ there is no regulatory requirement in most jurisdictions (including the
    US) for exchanges to do so, nor is there any requirement for exchanges to offer any
    transparency regarding their solvency or use of customer assets to regulators or to the
    general public.
23. Other than by an exchange’s own terms of service (which wasn’t adhered to in this
    case), exchanges are not prevented from whether they invest customer assets
    elsewhere, and if so, what types of investments they enter into, or loans they provide,
    regardless of the inherent level of risk. And exchanges have no requirement to have
    any type of insurance equivalent to FDIC insurance. While some exchanges will
    sometimes claim they have ‘insurance,’ the terms and conditions associated with that
    insurance are typically completely unknown to investors, and often this insurance will
    bear little to no resemblance to FDIC insurance; in essence the term ‘insurance’ is
    used as a marketing ploy to help instill customer confidence in the exchange, even
    when such confidence may not be warranted.
24. Due to the aforementioned reasons and risks surrounding the lack of regulation, as
    well various types of cybersecurity-related risks that aren’t applicable to banks but are
    critically important for exchanges, cryptocurrency exchanges are generally not and
    should not be considered a ‘safe’ place to store assets, whether cryptocurrency assets
    or fiat assets.
25. The inherent riskiness associated with storing assets on a cryptocurrency exchange is
    well-known to the vast majority of well-educated and knowledgeable cryptocurrency
    users. This is evidenced by the frequent expression ‘not your keys, not your coins,’
    essentially meaning that if you don’t control the cryptocurrency in your account, it’s
    not really yours. ‘Your’ cryptocurrency belongs to the exchange if you elect to store it
    ‘on’ the exchange, and if they renege or are unable to fulfill their liability to you, you
    as the beneficial cryptocurrency owner of the cryptocurrency, have effectively lost
    your money.



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      26. This is further referenced by the extensive track record of the many cryptocurrency
          exchanges that have shut down and ultimately failed, 2 often in spectacular fashion.
          The most common reasons for an exchange’s failure include:
             a) The exchange borrowing against customer assets (either to fund business
                  operations or lending them out in an effort to generate a profit) leading to
                  insolvency.
             b) The exchange trading or leveraging customer assets in an effort to generate a
                  profit, leading to insolvency.
             c) A hack or theft by an external actor
             d) Embezzlement, or theft by an internal actor, typically founder(s) of the
                  exchange
             e) Disappeared suddenly, for no apparent reason (typically taking customer assets
                   with them).
      27. When exchanges do shut down (and this happens relatively frequently) it rarely
          happens in an organized and orderly fashion, and it’s incredibly rare for customers that
          had assets on the exchange to get all their assets back; in many cases, they end up
          getting nothing back.
      28. Suffice to say cryptocurrency exchanges are generally not a safe place to store assets,
          even amongst exchanges that don’t offer a yield-bearing program. When exchanges
          have a yield-bearing program, or otherwise elect to leverage or loan our customer
          assets (with or without customer consent), it significantly increases the risk of the
          exchange failing and becoming insolvent. Cryptocurrency exchanges can do a variety
          of things to minimize such risks and improve safety. However, what an exchange says,
          and what they actually do are two different things entirely. It is common for CEOs and
          executives of exchanges that have failed or in the process of failing to describe their
          exchange as ‘safe,’ ‘secure,’ ‘well-regulated,’ ‘compliant,’ ‘transparent,’ or in a good
          financial position even when the exact opposite is true. FTX was not an exception to
          this trend. One should not assume or believe that an exchange is any of these things
          just because they make such claims.
      29. This is not to suggest that exchanges cannot be a much safer place to store assets.
          They can be with appropriate regulation and oversight. In fact, it appears that for FTX
          Japan 3 specifically, those investors will be made whole or almost whole due to
          sensical regulations that were put in place in light of the lessons learned from the


2
    https://www.cryptowisser.com/exchange-graveyard/
3
    https://www.coindesk.com/consensus-magazine/2022/12/13/japan-was-the-safest-place-to-be-an-ftx-customer/

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          failures of Mt. Gox and Coincheck exchanges in Japan.


FTX Earn Program

      30. The FTX Earn program was a yield-bearing account that FTX customers were
          offered. 4 It was also offered on FTX.us for US persons. 5 The FTX website describes it
          as follows:
                  “You can now earn yield on your crypto purchases and deposits, as well as
                  your fiat balances, in your FTX app! By opting in and participating in staking
                  your supported assets in your FTX account, you’ll be eligible to earn up to 8%
                  APY on your assets.”
      31. The yield that customers were offered is also outlined on the same page – 8% APY
          (Annual percentage yield) for total collective deposits under $10,000 USD equivalent,
          and 5% APY for collective deposits above $10,000 USD up to $100,000 USD, and no
          APY for amounts in excess of $100,000.




      32. FTX’s Earn program is very similar to that of Voyager’s earn program, and programs
          offered by Celsius and Blockfi, all of whom have filed for bankruptcy. The differences


4
    https://help.ftx.com/hc/en-us/articles/10573545824532-FTX-App-Earn
5
    http://web.archive.org/web/20221018024940/https://help.ftx.us/hc/en-us/articles/9081464675735-FTX-Earn

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    between these programs are minimal and involve differences in phrasing ‘yield’ vs
    ‘interest’ vs ‘rewards,’ the APY offered, the frequency of payout, and the assets that
    were supported.
33. The FTX website does not describe how, exactly, FTX will generate the applicable
    yield, and does not indicate what risk factors may be apparent that could result in the
    inability to pay such yield.
34. The website does suggest term ‘staking’ however as a means of generating yield when
    they indicate that:

           “By opting in and participating in staking your supported assets in your FTX
           account”

35. This naturally gives the impression that their assets would be used for ‘staking’
    without being 100% clear about it.
36. The word ‘staking’ in the context of cryptocurrency is understood to have a technical
    meaning. ‘Staking’ is associated with a consensus mechanism known as ‘Proof of
    Stake’(PoS) and relatedly, ‘Delegated Proof of Stake,’(dPos) which some
    cryptocurrencies utilize, but many don’t (such as Bitcoin for example, which uses
    ‘Proof of Work’ as a consensus mechanism).
37. Staking has a similar purpose for cryptocurrencies that utilize PoS and dPoS as what
    ‘miners’ are offered from cryptocurrencies that utilize Proof of Work. Individuals
    involved in staking are responsible for verifying transactions and they used their
    staked assets (instead of sunk costs associated with expenditure of electricity and
    equipment) as a way of guaranteeing the transactions they verify and add onto a
    blockchain are valid. If they try to add an invalid transaction, staked assets are
    typically burned as punishment, which creates a disincentive to act dishonestly or
    maliciously. In exchange for staking, users are awarded compensation accordingly in
    the form of newly issued cryptocurrency.
38. FTX is not itself a cryptocurrency operating on a PoS model; FTX was an exchange.
    One cannot ‘stake’ assets on an exchange. One can lend them to an exchange though,
    and theoretically, that exchange could then stake select cryptocurrency assets on
    behalf of the user (for cryptocurrencies that have Proof of Stake).
39. While there is disagreement over whether or not ‘staking’ is itself a security, the issue
    is that FTX did often not ‘stake’ customer assets, and indeed in many cases could not
    stake customer assets since not all cryptocurrencies utilize Proof of Stake. Yet the
    FTX website clearly suggests that ‘all assets’ in the account are subject to applicable


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        yield, including fiat assets (such as USD), which obviously don’t even have a staking
        mechanism if FTX wanted to utilize it.
    40. Rather than ‘staking,’ it appears that a primary thing FTX was doing was lending
        customer assets out, even from applicable that weren’t part of the ‘Earn’ program,
        most notably to Alameda. 6 There are allegations that Alameda received loans from
        FTX interest-free. 7 Sam Bankman-Fried was a primary equity holder of both
        companies. FTX choosing to lend out assets, whether for free or otherwise, has
        nothing to do with actual staking of cryptocurrency.
    41. The ‘staking,’ described on the FTX is purposely misleading, and not a representation
        of what was being offered. Users were not given the ability to ‘stake’ on FTX. They
        were given the ability to lend to FTX, and FTX would in turn invest and re-lend those
        assets out to questionable entities, on questionable terms, and such loans were not
        appropriately collateralized.
    42. That being said, as it appears that even for users that did not subscribe to the Earn
        program, FTX leveraged and loaned out customer assets anyway to a large degree. It
        furthermore appears that while there were separate legal entities behind ftx.com and
        ftx.us, the two entities may not have been operated all that differently from one
        another, with Sam Bankman-Fried a primary equity holder of each, and just how
        independent the two entities were from each other is very much a matter of concern.
    43. From a securities perspective, the Howey Test defines an investment contract as:
            a. An investment of money
                   i.   Cryptocurrency is a medium of exchange and way of transferring value
                        in a measurable and quantifiable way. It is increasingly used as a means
                        of payment, although it is more commonly used as a speculative
                        investment at this point in time. Whether or not cryptocurrency can be
                        defined as ‘money’ is in part a matter of semantics that can vary based
                        on considers the fundamental features of money to be, and what criteria
                        needs to be achieved in order for something to be considered money.
                        Suffice to say, when examining aspects such as fungibility, durability,
                        portability, divisibility, scarcity, transferability, acting as a medium of
                        exchange, acting as a unit of account, and acting as a store of value, it
                        could be argued that some cryptocurrencies fulfill many of these
                        criterion as good as or even better than fiat currencies.

6
  https://pacer-documents.s3.amazonaws.com/33/188450/042020648197.pdf
7
  https://www.cnbc.com/2022/11/13/sam-bankman-frieds-alameda-quietly-used-ftx-customer-funds-without-
raising-alarm-bells-say-sources.html

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              b. In a common enterprise
                    i. FTX customer assets are almost always consolidated in wallets
                        operated a controlled by FTX at least initially. These wallets are
                        typically referred to as ‘hot wallets’ or ‘consolidation wallets.’ From
                        these wallets, cryptocurrency can be move to other FTX-controlled
                        wallets, or it can be used to pay back other customers performing
                        withdrawals, but FTX can and did send (and loan) out such assets to
                        other entities, including Alameda Research ‘Alameda.’ The
                        blockchains data contains an immutable and verifiable record of data
                        that shows that FTX customer deposits went into accounts operated by
                        a common enterprise, namely, FTX.
              c. With the expectation of profit
                    i. FTX customers are promised yield when they participate in the Earn
                        program. And at up to 8% yield, that is a considerable amount that
                        would be considerably in excess to that of a savings account at a bank.
                        But it was also far riskier than investing money in a savings account at
                        a bank. FTX goes out of their way to advertise this yield, and indicate
                        that such earnings are to be calculated on the “investment portfolio”
                        that is stored ‘in’ the FTX app. 8
              d. To be derived from the efforts of others
                    i. The FTX Yield-bearing account was portrayed as passive income
                        stream. A customer needs to do nothing more than ensure they are
                        subscribed to the yield program, and that they have deposited assets (of
                        crypto or even fiat) in order to earn the 5% or 8% yield, which they
                        clearly indicate is counted hourly. There is no further work or action
                        needed on the part of the user.
                   ii. The work that ‘others’ (namely FTX) would need to do would
                        including, at a baseline, sending transactions. But it would also require
                        FTX to make an effort by leveraging and investing the money
                        elsewhere which could theoretically come about either via giving out
                        loans, employing trading strategies, ‘staking,’ making other
                        investments, or giving out loans to entities (such as Alameda) that




8
    https://help.ftx.com/hc/en-us/articles/10573545824532-FTX-App-Earn

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                    would employ such strategies. The primary strategy that FTX portrayed
                    to investors was ‘staking’ as I discuss in the following paragraphs.

Importance and Role of Brand Ambassadors

  44. FTX's brand ambassadors and ad campaigns that utilized those brand ambassadors had
      a critical role in portraying FTX as being 'safe' and 'compliant.' In Stephen Curry's
      FTX commercial, FTX's alleged safety is quite blatant stated when he claims

             “With FTX, I have everything I need to buy, sell, and trade crypto safely”

  45. Kevin O’Leary, another FTX brand ambassador stated:

             “To find crypto investment opportunities that met my own rigorous standards
             of compliance, I entered into this relationship with FTX. It has some of the best
             crypto exchange offerings I've seen on the market. FTX leverages best-in-class
             tech to provide a quality trading experience with low fees for both professional
             and retail investors alike, while at the same time providing the reporting
             platform that serves both internal and regulatory compliance requirements”

  46. Given that FTX continually misappropriated customer assets, didn’t have appropriate
      capital controls or reasonable compliance policies in place, these claims weren’t just
      unfounded; they were downright false.
  47. Mr. O’Leary’s assertion that FTX was a compliant exchange is even more damaging
      than that of the typical celebrity, however. This is because Mr. O’Leary is known for
      being a Shark on the TV show Shark Tank whereby Shark’s make investments in
      startups. With those investments comes due diligence. Mr. O’Leary’s endorsement of
      FTX certainly makes it seem that he did appropriate due diligence into FTX, when
      obviously, whatever due diligence that he did was grossly inadequate.
  48. Mr. O’Leary appears to admit that his own due diligence was inadequate, and that he
      relied on the due diligence of others:

             “I obviously know all the institutional investors in this deal. We all look like
             idiots. Let’s put that on the table. We relied on each other’s due diligence, but




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                 we also relied on another investment theme that I felt drove a lot of interest in
                 FTX 9”

    49. Mr. O’Leary is also a strategic investor in what is allegedly Canada’s largest
        cryptocurrency exchange, ‘WonderFi.’ The name is derived from Mr. O’Leary’s
        nickname, ‘Mr. Wonderful.’ Mr. O’Leary’s involvement in WonderFi could naturally
        lead one to believe that he knew how to perform adequate due diligence on exchanges,
        and that he would do so on FTX before investing and acting as a brand ambassador.

FTX and Representations of Safety and Risks
    50. The yield that users could receive as part of the FTX Earn program, as previously
        mentioned was 8% APY for total collective deposits under $10,000 USD equivalent,
        and 5% APY for collective deposits above $10,000 USD up to $100,000 USD, and no
        APY for amounts in excess of $100,000.
    51. This type of yield structure makes no logical sense from a profitability standpoint.
        Why would a financial institution offer a lender a lower yield when they loaned more,
        and no yield at all beyond a certain threshold? As a business, should they want to pay
        out lower yields to a smaller number of people than higher yields to a larger number of
        people?
    52. In my opinion, the reasons that FTX had this yield structure was so that they could
        mitigate their legal risks to customers. Simply put, a customer who loses $4,000 due to
        FTX’s misappropriation of funds is very unlikely pursue action against the exchange,
        such as litigation. A customer who loses $4 million is much more likely to.
    53. FTX did have a legal disclaimer associated with their Earn program, shown below:




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 https://dailyhodl.com/2022/12/09/kevin-oleary-says-ftx-collapse-makes-him-and-other-investors-in-the-crypto-
exchange-look-like-idiots/

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      54. FTX again refers to staking numerous times, suggesting this was what they were
          primarily doing with customer assets, which wasn’t true, and indeed wasn’t even
          technically possible for a large portion of the assets that customers deposited.
      55. FTX indicated that for customers who opt-in to the Earn program, FTX would take
          their assets to generate a fixed yield for the user, presumably via ‘staking.’
      56. The legal disclaimer, and certainly the brand ambassadors grossly misrepresented the
          level of risk associated with its Earn program. While FTX does indicate that it’s ‘not a
          bank account, and is not insured’ and that ‘users should exercise appropriate caution
          when deciding whether to enable yield for their accounts,’ this hardly seems like a
          sufficient disclaimer and disclosure that would accurately represent the real level of
          risk. It certainly does not reveal that funds will be lent to affiliated entities to perform
          highly questionable and risky trading strategies, the lender will collateral FTT tokens
          with FTX for safety.
      57. The FTX Earn program was clearly represented as being ‘opt-in’ and not ‘opt-out.’
          However, in a declaration from Joseph Rotunda, the Director of Enforcement at the
          Texas State Security Board, he describes how he, as a US citizen, went to the FTX
          website, downloaded the FTX Trading App. He funded his account with $50, and “the
          default settings were automatically configured to enable earning of yield.” 10 clearly
          notes that the earn program he was auto-enrolled in was associated with FTX US, not
          FTX Trading.
      58. Thus, FTX’s assertion that the FTX.US yield program were strictly opt-in was not
          true. It’s certainly possible that when some US persons registered for FTX, the Earn
          program might have been opt-in in some cases but based on the series of events

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     https://cases.stretto.com/public/x193/11753/PLEADINGS/1175310142280000000134.pdf

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      described by Mr. Rotunda, it’s clear at the very least that a considerable portion of US
      persons that registered would have been auto-enrolled in the yield program. This
      would make it such that those users that were auto-enrolled (and who did not opt-out)
      appear to have engaged in an unregistered securities transaction as soon as any money
      was deposited to their account, whether fiat or cryptocurrency.
  59. This means it appears that brand ambassadors were promoting a company and
      application that at least in some cases auto-enrolled US persons in the FTX Earn
      program which would reasonably be considered a security in my opinion, and which
      was also being lauded as ‘safe’ and ‘compliant.’

The FTT Token and Alameda
  60. The FTT Token was an instrumental part of FTX’s demise. FTT Tokens were created
      and issued by FTX, and FTT provides various benefits to its holders on FTX
      Exchange. The benefits include, most notably, trading fee discounts, but also ancillary
      benefits such as early access to token sales on the exchange.
  61. It is not uncommon for many of the larger cryptocurrency exchanges to build in
      contrived ‘utility’ (such as trading discounts) for tokens that they themselves create
      because it can be financially lucrative for the exchange, since as the issuer they would
      typically retain a sizable portion of the tokens, and could elect to sell those tokens at
      some point, when the price is advantageous.
  62. Similar to equity, the financial success of an exchange’s token (FTT) is tied to the
      financial success and popularity of the exchange. This is because as the exchanges
      gains new customers, more and more customers will naturally want to buy FTT, either
      so they can have a discount on trading fees, or because they think the price will
      increase (possibly a result of new customers and demand for FTT). However, the
      holders of FTT have no legal rights voting rights that they would have with an equity
      investment.
  63. Thus, as the number of customers that exchange has increases, as is often the case in a
      ‘bull market,’ the price of FTT could generally be expected to increase in value.
      However, in a bear market, when there is less demand and interest, and fewer new
      users signing up, there is naturally a lower demand for FTT that would generally cause
      the price to decline.
  64. It is apparent that FTX (and FTX.us) effectively gave Alameda research an unlimited
      credit line, and Alameda could then effectively use FTX customer assets in extremely
      high-risk trading activity and strategies, and loans that ultimately left Alameda in
      extremely poor financial condition.

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  65. Alameda research allegedly largely provided FTT tokens (which were presumably
      issued or given to them by FTX) as collateral to FTX in order to obtain the loans from
      FTX. However, FTT tokens are highly volatile and ultimately subject to investor
      confidence in FTX itself. When that confidence and interest in FTX began to wane,
      the price of FTT started to collapse, and with that, the collateral that was designed to
      cover Alameda’s bad debts.
  66. FTX now has a bunch of comparatively worthless FTT on their balance sheet, and the
      price of that obviously won’t recover measurably. Given what FTX’s misappropriation
      of customer assets (both in and outside of the Earn program), investors were
      essentially invested in FTT tokens in large part even if they didn’t know it or buy any
      directly themselves.

Verifiable FTX Falsehoods
  67. It’s evident that the FTX group was grossly mismanaged and misappropriated
      customer funds. It is still the early stages of finding out about all the misconduct.
      Much of the misconduct that has been revealed thus far and will be revealed in the
      coming months would not necessarily have been immediately known to brand
      ambassadors. This begs the question as to what are the falsehoods that were or should
      have been apparent to FTX brand ambassadors when partnering with FTX initially,
      well before their collapse?
  68. The first, as we’ve already discussed is the claims regarding staking. Cryptocurrencies
      like Bitcoin and Dogecoin, which FTX offers, cannot be staked. And fiat currency
      (which FTX also offered yield on) also cannot be staked. Yet, FTX offers yield for
      them on the Earn Program. The fact that FTX would not technically be able to stake
      applicable cryptocurrency assets on behalf of customers as they have said and pay
      back yield in the same currency / cryptocurrency, was always a giant red flag that was
      demonstrably false, and which should have been recognized by anyone promoting
      FTX.
  69. The second verifiably false claim by FTX that would have been evident publicly well
      before their downfall relates to FTX’s claim that only the user has control of digital
      assets in their account:

             “You control the Digital Assets held in your Account. At any time, subject to
             outages, downtime, and other applicable policies (including the Terms), you
             may withdraw your Digital Assets by sending them to a different blockchain
             address controlled by you or a third party.”


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   As mentioned previously, FTX exchange accounts are custodial in nature. This means
   that the customer does not control access to the assets ‘in’ their account. The customer
   needs to make a request to the exchange to be able to access and send those balances.
   Whether or not such requests are processed are dependent on the willingness, ability
   and approval of the exchange. It is very much the exchange that controls the assets,
   not their customer.

70. An additional claim in this quote that could also be argued is verifiably false is the
    assertion that digital assets are held ‘in’ the account at all (even if the exchange wasn’t
    misappropriating funds). On a technical level, an exchange account cannot hold or
    store cryptocurrency. However, exchange accounts can store a record of liability for
    that cryptocurrency, that an exchange may have to its customer. However, because this
    concept of ‘storage’ can be difficult for people to understand, it’s somewhat common,
    at least for newcomers and those less educated with cryptocurrency to discern that a
    balance held on a cryptocurrency exchange account is equivalent to those assets being
    ‘stored’ on the exchange. What a customer(s) balance is versus what an exchange
    actually stores in its own custody on behalf of the user should not be assumed to be the
    same thing; there is no regulation or assurance guaranteeing or requiring that. Only an
    exchange’s terms of service, which might contain such language, might guarantee that,
    but even if it does, such terms may not be adhered to (which was the case here).
71. A third major red flag should have been readily apparent is the non-sensical yield
    structure for customer accounts, which in my opinion was designed in such a way so
    as to onboard users. As previously mentioned, this was most likely doing to limit legal
    risks that FTX could incur, since investors who lost smaller amounts of money are
    much less likely to pursue action than investors that lost considerable amounts of
    money.
72. A fourth falsehood should have been apparent in Sam Bankman-Fried’s testimony to
    the US House of Representatives Financial Services committee when he stated:

           “There is complete transparency about the positions that are held. There is a
           robust, consistent risk framework applied”

   No, there is not “complete transparency” and the positions that FTXs holds and held.
   While most cryptocurrency operate on public blockchains, the entities that own
   specific wallets, who controls specific accounts, and loans that are made by an
   exchange are not publicly available simply because such blockchains are public, and
   such information was not disclosed by FTX. And based on John Ray’s affidavit,


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   FTX’s records are so poor it’s likely that large swaths of this information won’t ever
   be known.

73. A fifth area of contention that could be said to be demonstrably false (depending on
    semantics) or at least misleading would be with respect to the FTX Earn program is
    the use of the term ‘wallet.’ FTX’s page on the Earn program frequently talks about
    users’ wallets (with FTX).

           “All assets kept in your wallets will earn the same crypto or fiat that is held in
           the wallet, and will earn at the same rate”

74. The term ‘wallet’ is one of the very first terms that cryptocurrency users hear of,
    which they start to use, but term is frequently misused and misunderstood. The
    ‘wallet’ terminology FTX uses perpetuates that misunderstanding.
75. A cryptocurrency wallet is inherently ‘self-custodial’ meaning that there is no
    institution holding cryptocurrency on behalf of the user, nor does the user need to seed
    any permission to have nor hold funds in such a wallet. Only the person who created
    the wallet has ability to access the wallet (unless the credentials to the wallet were to
    be breached or otherwise accessed by another party). A cryptocurrency wallet is an
    auxiliary device or medium that holds or stores private key(s) needed to access or
    spend cryptocurrency balances that have been allocated to address(es) that are part of
    the wallet.
76. The mere use of ‘wallet’ in this context is itself a misnomer, and very misleading,
    because a user cannot have a ‘FTX wallet’ of theirs. There is no such thing. A user can
    have wallet(s), and a FTX account, or both, but there is no such thing as an ‘FTX
    Wallet’ belonging to the user. FTX Exchange did have and control many different
    wallets, but for any given customer, FTX Exchange did not hold funds in a unique
    wallet only for that customer; that’s simply not how exchanges work.
77. These are just the obvious falsehood and red flags that would be apparent on the
    surface. If brand ambassadors obtained information or knowledge about the inner
    workings of FTX, it’s very likely that they would have encountered additional red
    flags.




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                                                             // ENDS

                                                           Paul Sibenik
                                                     Lead Case Manager
                                                           CipherBlade



                                          ___________________________




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JS 44 (Rev. 0/16)                               CIVIL
                               Case 8:23-cv-01969-PX   COVER1-3
                                                     Document SHEET
                                                                  Filed 07/21/23 Page 1 of 2
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                       DEFENDANTS
EDWIN GARRISON, et al., on behalf of themselves and all others                                        BRIAN JUNG
similarly situated,

   (b) County of Residence of First Listed Plaintiff        Oklahoma, County                            County of Residence of First Listed Defendant             Montgomery County
                             (EXCEPT IN U.S. PLAINTIFF CASES)                                                                  (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                        NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                   THE TRACT OF LAND INVOLVED.

   (c) Attorneys (Firm Name, Address, and Telephone Number)                                              Attorneys (If Known)
Michael Mitchell - Boies, Schiller & Flexner LLP                                                      Derek Adams - Potomac Law Group, PLLC
1401 New York Ave, NW, Washington, DC 20005                                                           1717 Pennsylvania Ave., NW, Suite 1025, Washington, DC 20006
Phone: 202-237-2727                                                                                   Phone: 202-743-1511

II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                   III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                    (For Diversity Cases Only)                                       and One Box for Defendant)
u 1    U.S. Government           u 3    Federal Question                                                                     PTF       DEF                                          PTF      DEF
         Plaintiff                        (U.S. Government Not a Party)                        Citizen of This State         u 1       u 1      Incorporated or Principal Place      u 4      u 4
                                                                                                                                                  of Business In This State

u 2    U.S. Government           u 4    Diversity                                              Citizen of Another State          u 2    u   2   Incorporated and Principal Place    u 5     u 5
         Defendant                        (Indicate Citizenship of Parties in Item III)                                                            of Business In Another State

                                                                                               Citizen or Subject of a           u 3    u   3   Foreign Nation                      u 6     u 6
                                                                                                 Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                 &OLFNKHUHIRU1DWXUHRI6XLW&RGH'HVFULSWLRQV
          CONTRACT                                        TORTS                                  FORFEITURE/PENALTY                        BANKRUPTCY                   OTHER STATUTES
u 110 Insurance                    PERSONAL INJURY               PERSONAL INJURY               u 625 Drug Related Seizure          u 422 Appeal 28 USC 158          u 375 False Claims Act
u 120 Marine                     u 310 Airplane               u 365 Personal Injury -                of Property 21 USC 881        u 423 Withdrawal                 u 376 Qui Tam (31 USC
u 130 Miller Act                 u 315 Airplane Product             Product Liability          u 690 Other                               28 USC 157                       3729(a))
u 140 Negotiable Instrument             Liability             u 367 Health Care/                                                                                    u 400 State Reapportionment
u 150 Recovery of Overpayment u 320 Assault, Libel &                Pharmaceutical                                                   PROPERTY RIGHTS                u 410 Antitrust
      & Enforcement of Judgment         Slander                     Personal Injury                                                u 820 Copyrights                 u 430 Banks and Banking
u 151 Medicare Act               u 330 Federal Employers’           Product Liability                                              u 830 Patent                     u 450 Commerce
u 152 Recovery of Defaulted             Liability             u 368 Asbestos Personal                                              u 840 Trademark                  u 460 Deportation
      Student Loans              u 340 Marine                       Injury Product                                                                                  u 470 Racketeer Influenced and
      (Excludes Veterans)        u 345 Marine Product               Liability                              LABOR                     SOCIAL SECURITY                      Corrupt Organizations
u 153 Recovery of Overpayment           Liability              PERSONAL PROPERTY               u 710 Fair Labor Standards          u 861 HIA (1395ff)               u 480 Consumer Credit
      of Veteran’s Benefits      u 350 Motor Vehicle          u 370 Other Fraud                       Act                          u 862 Black Lung (923)           u 490 Cable/Sat TV
u 160 Stockholders’ Suits        u 355 Motor Vehicle          u 371 Truth in Lending           u 720 Labor/Management              u 863 DIWC/DIWW (405(g))         u 850 Securities/Commodities/
u 190 Other Contract                   Product Liability      u 380 Other Personal                    Relations                    u 864 SSID Title XVI                   Exchange
u 195 Contract Product Liability u 360 Other Personal               Property Damage            u 740 Railway Labor Act             u 865 RSI (405(g))               u 890 Other Statutory Actions
u 196 Franchise                        Injury                 u 385 Property Damage            u 751 Family and Medical                                             u 891 Agricultural Acts
                                 u 362 Personal Injury -            Product Liability                 Leave Act                                                     u 893 Environmental Matters
                                       Medical Malpractice                                     u 790 Other Labor Litigation                                         u 895 Freedom of Information
      REAL PROPERTY                  CIVIL RIGHTS              PRISONER PETITIONS              u 791 Employee Retirement             FEDERAL TAX SUITS                    Act
u 210 Land Condemnation          u 440 Other Civil Rights       Habeas Corpus:                       Income Security Act           u 870 Taxes (U.S. Plaintiff      u 896 Arbitration
u 220 Foreclosure                u 441 Voting                 u 463 Alien Detainee                                                        or Defendant)             u 899 Administrative Procedure
u 230 Rent Lease & Ejectment     u 442 Employment             u 510 Motions to Vacate                                              u 871 IRS—Third Party                  Act/Review or Appeal of
u 240 Torts to Land              u 443 Housing/                     Sentence                                                              26 USC 7609                     Agency Decision
u 245 Tort Product Liability           Accommodations         u 530 General                                                                                         u 950 Constitutionality of
u 290 All Other Real Property    u 445 Amer. w/Disabilities - u 535 Death Penalty                    IMMIGRATION                                                          State Statutes
                                       Employment               Other:                         u 462 Naturalization Application
                                 u 446 Amer. w/Disabilities - u 540 Mandamus & Other           u 465 Other Immigration
                                       Other                  u 550 Civil Rights                     Actions
                                 u 448 Education              u 555 Prison Condition
                                                              u 560 Civil Detainee -
                                                                    Conditions of
                                                                    Confinement
V. ORIGIN (Place an “X” in One Box Only)
u 1 Original             u 2 Removed from           u 3       Remanded from               u 4 Reinstated or       u 5 Transferred from     u 6 Multidistrict                 u 8 Multidistrict
    Proceeding               State Court                      Appellate Court                 Reopened                Another District             Litigation -                   Litigation -
                                                                                                                  (specify)                        Transfer                      Direct File
                                    Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                     Fla. Stat. §§ 501.201, 28 U.S.C. § 1332(d)(2)(A) and 28 U.S.C. § 1332(a)(1)
VI. CAUSE OF ACTION Brief description of cause:

VII. REQUESTED IN     u CHECK IF THIS IS A CLASS ACTION        DEMAND $                   CHECK YES only if demanded in complaint:
     COMPLAINT:          UNDER RULE 23, F.R.Cv.P.                                         JURY DEMAND:         u Yes     u No
VIII. RELATED CASE(S)                            81,7('67$7(6',675,&7&28576287+(51',675,&72))/25,'$0,$0,',9,6,21
                       (See instructions):
      IF ANY                               JUDGE K. MICHAEL MOORE                    DOCKET NUMBER 1:23-md-03076-KMM
DATE                                                               SIGNATURE OF ATTORNEY OF RECORD
07/21/2023                                                       /s/ Michael S. Mitchell
FOR OFFICE USE ONLY

  RECEIPT #                  AMOUNT                                    APPLYING IFP                                      JUDGE                         MAG. JUDGE
JS 44 Reverse (Rev. 0/16)   Case MDL No. 3076 Document 168-3 Filed 07/21/23 Page 100 of 102
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                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                               Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)    Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and
         then the official, giving both name and title.
  (b)    County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
         time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
         condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
  (c)    Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
         in this section "(see attachment)".

II.      Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
         in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
         United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
         United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
         Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
         precedence, and box 1 or 2 should be marked.
         Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
         citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
         cases.)

III.     Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
         section for each principal party.

IV.      1DWXUHRI6XLW3ODFHDQ;LQWKHDSSURSULDWHER[,IWKHUHDUHPXOWLSOHQDWXUHRIVXLWFRGHVDVVRFLDWHGZLWKWKHFDVHSLFNWKHQDWXUHRIVXLWFRGH
         WKDWLVPRVWDSSOLFDEOH&OLFNKHUHIRU1DWXUHRI6XLW&RGH'HVFULSWLRQV


V.       Origin. Place an "X" in one of the seven boxes.
         Original Proceedings. (1) Cases which originate in the United States district courts.
         Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
         When the petition for removal is granted, check this box.
         Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
         date.
         Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
         Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
         multidistrict litigation transfers.
         Multidistrict Litigation – Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
         Section 1407.
         Multidistrict Litigation – Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
         PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
         changes in statue.

VI.      Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
         statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service

VII.     Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
         Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
         Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
      numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                 for the
                                                          District
                                                   __________      of Maryland
                                                               District of __________

 EDWIN GARRISON, et al., on behalf of themselves                   )
        and all others similarly situated                          )
                                                                   )
                                                                   )
                            Plaintiff(s)                           )
                                                                   )
                                v.                                         Civil Action No.
                                                                   )
                         BRIAN JUNG                                )
                                                                   )
                                                                   )
                                                                   )
                           Defendant(s)                            )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) BRIAN JUNG
                                           Attn: Derek Adams
                                           Potomac Law Group, PLLC
                                           1717 Pennsylvania Avenue, NW, Suite 1025
                                           Washington, D.C. 20006
                                           Tel: (202) 743-1511


          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Michael Mitchell
                                           Boies, Schiller & Flexner LLP
                                           1401 New York Ave, NW, Washington, DC
                                           Phone No. 202-274-1125
                                           mmitchell@bsfllp.com
                                           balexander@BSFLLP.com

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                              CLERK OF COURT


Date:
                                                                                        Signature of Clerk or Deputy Clerk
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 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
